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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY
---------------------------------------------------------------X
JOHN DOE,                                                      : Civil Action No.:19-cv-12577
                                                               :
                                    Plaintiff,                 :
                                                               :        COMPLAINT
                  v.                                           :
                                                               :
THE TRUSTEES OF PRINCETON                                      :
UNIVERSITY, TIGER INN,                                         :
MICHELE MINTER,                                                :
REGAN HUNT CROTTY, JOYCE CHEN                                  :
SHUEH, and EDWARD WHITE,                                       :
                                                               :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X


         Plaintiff John Doe1 (“Plaintiff” or “Doe”), by his attorneys Nesenoff & Miltenberg, LLP,

as and for his complaint against Defendants The Trustees of Princeton University (“Princeton” or

“the University”), Tiger Inn (“TI”), Michele Minter (“Minter”), Regan Hunt Crotty (“Crotty”),

Joyce Chen Shueh (“Shueh”), and Edward White (“White”) (collectively, “the individual

defendants” and collectively with Princeton and TI, “Defendants”), respectfully alleges as

follows:


                               THE NATURE OF THIS ACTION

         1.      Plaintiff John Doe, a sophomore at Princeton University at all times relevant

herein, was sexually harassed at Tiger Inn (“TI”)—one of Princeton’s “eating clubs” 2—and was


1
    Plaintiff has filed herewith a motion to proceed by pseudonym.
2
   Princeton’s “eating clubs” are essentially co-ed fraternities. According to the Princeton
University website, “In the early years, the University did not provide students with dining
facilities, so students created their own clubs to provide comfortable houses for dining and social
life. Eating clubs are . . . the most popular dining and social option for students in their junior
and senior years.”

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sexually assaulted by one of the older club members on his “initiation” night.

        2.        When Plaintiff reported the hazing, harassment, and assault he was subjected to at

TI, Princeton took no genuine action to investigate his claims or to hold TI or its officers

accountable for numerous reported violations of Princeton’s code of conduct.

        3.        The Tiger Inn is a notoriously wild, heavy-drinking club, often referred to as

“Princeton’s ‘Animal House,’” with a long, well-documented history of problems with alcohol

abuse, hazing, sexual harassment, and sexual misconduct. In 2014, the words “RAPE HAVEN”

were spray-painted on the outer walls of the club, after a TI officer allegedly circulated to the

entire club membership photos of a potential sexual assault that happened at a TI party.

        4.        Princeton University is well aware of TI’s reputation and ongoing issues, yet has

intentionally kept a hands-off approach with TI and the rest of the eating clubs, disclaiming

responsibility for the rampant abuse that takes place at the clubs by virtue of their allegedly

independent status, while providing financial and administrative support to the clubs, which cater

exclusively to Princeton students and alumni.

        5.        Plaintiff, a sophomore “bickeree”3 of the Tiger Inn, was directed at his initiation

night to binge drink alcohol provided by TI, strip off his clothes, and follow the orders of all

upperclassmen, even if it gets “weird.” He was told not to bring any camera, as photos and

videos of initiations were strictly forbidden. He was also slapped, flashed, had cups of beer

thrown on him, and was directed to run a “naked lap” around the building, in February, as part of

the initiation.

        6.        At the end of his initiation night, while Plaintiff was highly intoxicated and still in




3
   The competitive application process to Princeton’s eating clubs (much like the rush/pledge
process in fraternities) is known as “bicker,” with applicants referred to as “bickerees.”

                                                    2
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his underwear, he was approached by a TI upperclassman and student athlete who was several

inches taller than him.        The TI upperclassman waited until Plaintiff was dancing alone,

approached Plaintiff, kissed him, and then directed Plaintiff to find his pants and prepare to leave

the club. Plaintiff obliged, as he had been told to do whatever the upperclassmen said.

         7.     The TI upperclassman then took Plaintiff by the hand and led him to a dorm

room.     On the way, the upperclassman told Plaintiff numerous specific details that the

upperclassman knew about Plaintiff’s family, background, and interests, which the

upperclassman apparently learned from the bicker process. Plaintiff had never spoken to the

upperclassman before. The upperclassman also took credit for voting Plaintiff into the club.

         8.     Once the two arrived at the upperclassman’s private dorm room, they engaged in

sexual activity that was directed, initiated, and controlled by the upperclassman. Plaintiff was

drunk and extremely uncomfortable, but felt he had to acquiesce or else he would jeopardize his

spot in the eating club. After a few hours of sexual activity, Plaintiff eventually left and returned

to his own dorm.

         9.     A few weeks after Plaintiff’s initiation, the upperclassman—Jane Roe4—filed a

Title IX complaint against Plaintiff, alleging that some (but not all) of their sexual activity was

nonconsensual. Plaintiff filed a cross-complaint, alleging that it was Roe who had assaulted him,

as he had been extremely drunk and coerced by virtue of the TI initiations process and Roe’s

position of power at TI and her physical stature.

         10.    This case arises out of the biased, unlawful, and improper actions and inactions of

Princeton University in knowingly, willfully ignoring Plaintiff’s reports of harassment and

hazing, and sloppily investigating and wrongly adjudicating false allegations made against

4
    Jane Roe is a pseudonym.


                                                    3
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Plaintiff by his own abuser, alleging nonconsensual sexual activity in violation of Princeton’s

Sexual Discrimination and Sexual Misconduct Policy (the “Policy”).

       11.     Throughout the Title IX investigation into the interaction between Plaintiff and

Roe, Princeton’s Title IX panel patently and deliberately failed to address Plaintiff’s reports of

numerous conduct code violations, abuse, and harassment he was subjected to at TI initiations,

including that TI’s older members had coerced the largely-underage bickerees, including

Plaintiff, into consuming mass quantities of alcohol, which TI provided, and taking off their

clothes, while repeatedly priming them to do whatever the upperclassmen said.

       12.     Princeton also ignored certain activities that seriously called into question Roe’s

credibility, and subjected Plaintiff to a highly prejudicial, unfair, and inadequate investigatory

and adjudicatory process.

       13.     Eventually, Plaintiff was found responsible for sexual assault against Jane Roe,

and sanctioned with a two-year suspension, while Roe was found not responsible for sexual

assault for taking the highly inebriated, younger, and physically smaller Plaintiff back to her

room on initiation night.

       14.     On information and belief, Princeton took no action with respect to TI and its

initiation hazing, including providing alcohol to underage students and instructing them to strip

down to their underwear and obey all upperclassmen.

       15.     Princeton’s disciplinary process was riddled with procedural and substantive

errors, including: Failure to conduct a fair, equitable, impartial investigation; failure to properly

apply the preponderance of the evidence as the burden of proof; failure to accord Plaintiff a

presumption of innocence; failure to provide Plaintiff with all of the evidence against him,

including witness identities; and abuse of discretion in the issuance of an unduly harsh and



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unwarranted sanction. In sum, Princeton’s process was geared toward a predetermined finding

of Plaintiff’s guilt as the male accused, and evidenced selective enforcement of Princeton’s Title

IX policies and a blatant, deliberate indifference to the harassment to which Plaintiff was

exposed at TI initiations.

         16.   Indeed, Princeton undertook no genuine efforts to investigate claims that TI

upperclassmen: (i) told bickerees to strip down to their underwear; (ii) provided alcohol to

underage bickerees, including handing them cups of beer and telling them to “chug”;

(iii) slapped and threw beer on bickerees; (iv) told bickerees to strip further and run a “naked

lap” around the club, outside, in February; and (v) repeatedly flashed their genitals at bickerees.

Most disturbingly, Princeton made no investigation into TI’s directions to their bickerees that no

cameras or recording devices were to be brought to initiation night.

         17.   By employing gender-based, pre-determined presumptions of Plaintiff’s guilt

from the outset, and by imposing an unreasonable sanction, and by selectively enforcing the

Policy as between similarly situated male and female students, Princeton displayed anti-male

discriminatory bias, leading to an erroneous outcome and selective enforcement in violation of

Title IX of the Education Amendments of 1972 and New Jersey’s Law Against Discrimination

(LAD).

         18.   By refusing to investigate Plaintiff’s reports of hazing and sexual harassment at a

club that has a long, well-known history of sexual harassment, Princeton was deliberately

indifferent to student-on-student harassment, in violation of Title IX of the Education

Amendments of 1972.

         19.   By violating its own policies and depriving Plaintiff of a fair and impartial

disciplinary process, Princeton breached express and implied agreements with Plaintiff and acted



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in bad faith in failing to fulfill its promises to him as an enrolled student paying tuition at

Princeton.

       20.     By engaging in a biased, flawed, and deficient investigation and disciplinary

process, the finding and sanction were arbitrary, capricious, unreasonable, fundamentally unfair,

and not supported by sufficient credible evidence.

       21.     As a result of Princeton’s discriminatory and unlawful conduct, Plaintiff has

sustained damages, including but not limited to past and future economic losses, reputational

harm, and diminished educational and career prospects.

       22.     Accordingly, Plaintiff brings this action to obtain monetary and injunctive relief.



                                         THE PARTIES

       1.      Plaintiff John Doe is a natural person, a citizen of Liberia and the United States

and resident of the State of New Jersey. At all relevant times herein, Plaintiff was an enrolled

undergraduate student at Princeton University with an expected graduation date of May 2020.

       23.     Defendant Princeton University is a partially federally funded, private university

located in Princeton, New Jersey, where it maintains its principal offices and place of business.

       24.     On information and belief, Defendant Tiger Inn is a “self-owned” club that is

“governed and operated by undergraduate officers” consisting of Princeton students, and a

graduate board consisting of Princeton alumni. Tiger Inn is located in Princeton, New Jersey.

       25.     Defendant Michele Minter is a natural person and, at all times relevant herein,

was the Vice Provost for Institutional Equity and Diversity at Princeton. On information and

belief, Minter is a resident of New Jersey.

       26.     Defendant Regan Hunt Crotty is a natural person and, at all relevant times herein,



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was the Director of Title IX Administration at Princeton. Defendant Crotty served as a member

of the three-person panel assigned to investigate and adjudicate Plaintiff and Roe’s cross-claims,

and Smith’s claims against Plaintiff (the “Title IX Panel” or “Panel”). On information and

belief, Crotty is a resident of New Jersey.

          27.   Defendant Joyce Chen Shueh is a natural person and, at all relevant times herein,

was the Senior Associate Dean of Undergraduate Studies at Princeton. Defendant Shueh served

as a member of the Title IX Panel. On information and belief, Shueh is a resident of New

Jersey.

          28.   Defendant Edward White is a natural person and, at all relevant times herein, was

a Title IX Investigator at Princeton. White served as a member of the the Title IX Panel. On

information and belief, White is a resident of New Jersey.



                                 JURISDICTION AND VENUE

          29.   This Court has Federal question and supplemental jurisdiction pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1367, because: (i) the claims arise under the constitution and

statutes of the United States; and (ii) the state law claims are so closely related to the federal

law claims as to form the same case or controversy under Article III of the U.S. Constitution.

          30.   This Court has personal jurisdiction over Princeton University and Tiger Inn

because they are located and conduct business within the State of New Jersey.

          31.   This Court has jurisdiction over the individual defendants because they were

employed by Princeton and conducted business in New Jersey at all times relevant herein, and,

upon information and belief, reside within the state of New Jersey.

          32.   Venue for this action properly lies in this district pursuant to 28 U.S.C.



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§ 1391 because the acts or omissions giving rise to Plaintiff’s claims occurred in this judicial

district.

                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

  I.    BACKGROUND: PRINCETON IS PRESSURED INTO PROSECUTING MEN.

               A. The April 2011 “Dear Colleague Letter”: The Office for
                  Civil Rights Places Pressure on Universities to Aggressively
                  Pursue Sexual Misconduct Complaints.

        33.    On April 4, 2011, the Department of Education’s Office for Civil Rights (“OCR”)

issued a guidance letter to colleges and universities in receipt of federal funding, which became

widely known as the “April 2011 Dear Colleague Letter” (the “DCL”).

        34.    The DCL advised recipients that sexual violence constitutes sexual harassment

within the meaning of Title IX of the Education Amendments of 1972 and its regulations.

        35.    The DCL directed schools to “take immediate action to eliminate the harassment,

prevent its recurrence and address its effects.” DCL at 4.

        36.    The DCL responded, in part, to a special investigative report published by

National Public Radio and the Center for Public Integrity, which proclaimed a campus rape

epidemic and criticized the OCR for its lax response to what the report characterized as a social

problem of critical importance. See Joseph Shapiro, Campus Rape Victims: A Struggle for

Justice,        National          Public            Radio       (Feb.          24,        2010),

http://www.npr.org/templates/story/story.php?storyId=124001493.         The report described in

detail the obstacles faced by sexual assault victims in obtaining redress though college

disciplinary proceedings, and how victims who did engage in the college disciplinary process

suffered additional trauma as a result. Much of the report focused on underreporting, re-

traumatization of victims, rape myth adherence on college campuses, and young men’s cultural


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adherence to the sexual aggressor role.

        37.     The OCR further relied on faulty statistics in sounding its “call to action” for

campuses nationwide—that “about 1 in 5 women are victims of completed or attempted sexual

assault while in college.” DCL at 2. The researchers behind this study subsequently invalidated

that statistic as a misrepresentation of the conclusions of the study, and warned that it was

“inappropriate to use the 1-in-5 number as a baseline . . . when discussing our country’s problem

with rape and sexual assault on campus.” See Christopher Krebs and Christine Lindquist, Setting

the    Record     Straight   on    “1     in   5,”   Time    Magazine      (Dec.   14,    2015),

http://time.com/3633903/campus-rape-1-in-5-sexual-assault-setting-record-straight/.

        38.     Relying on the faulty one-in-five statistic, the OCR, through the DCL, minimized

due process protections for the accused by, among other things, mandating the adoption of a

relatively low burden of proof—“more likely than not”— in cases involving sexual misconduct,

expressly prohibiting colleges from applying a higher standard of proof and “strongly

discourag[ing]” the use of cross-examination and other crucial methods for testing complainant

credibility.

        39.     The DCL advised that schools should “minimize the burden on the complainant”

and focus on victim advocacy. For example, it stated that schools should give both parties the

right to appeal a decision – in other words, if an accused student was found not responsible, the

complainant could then appeal and force the respondent to defend the claims all over again,

functionally constituting double-jeopardy.

        40.     Despite its purported purpose as a mere guidance letter, the Department of

Education treated the DCL as a binding regulation and pressured colleges and universities to

aggressively pursue investigations of sexual assault on campus.



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           41.   On April 19, 2014, the OCR issued additional directives to colleges and

 universities in the form of a guidance document titled Questions and Answers on Title IX and

 Sexual Violence (the “2014 Q&A”).

           42.   Like the DCL, the 2014 Q&A was aimed at addressing educational institutions’

 sexual misconduct policies, including the procedures schools “must” have in place “to prevent

 sexual violence and resolve complaints” and the elements that “should be included in a school’s

 procedures for responding to complaints of sexual violence.” The 2014 Q&A advised schools to

 adopt a “trauma-informed” approach, advising, for example, that hearings should be “conducted

 in a manner that does not inflict additional trauma on the complainant.” 2014 Q&A at 31. The

 Q&A further advised that, although “the rights established under Title IX must be interpreted

 consistently with any federally guaranteed due process rights … a school should ensure that any

 due process rights do not restrict or unnecessarily delay the protections provided by Title IX to

 the complainant.” 2014 Q&A at 13 (emphasis added).

           43.   In the same month that the OCR issued its 2014 Q&A on Title IX, the White

 House issued a report titled Not Alone, prepared by the White House Task Force to Protect

 Students from Sexual Assault, which included a warning that if the OCR finds a school in

 violation of Title IX, the “school risks losing federal funds.” See White House Task Force to

 Protect     Students   from   Sexual       Assault,        Not   Alone   (Apr.   2014),   available   at

 https://obamawhitehouse.archives.gov/sites/default/files/docs/report_0.pdf.         The report further

 advised that the Department of Justice (“DOJ”) shared authority with OCR for enforcing Title

 IX, and could therefore initiate investigation, compliance review, and/or litigation against

 schools suspected of violating Title IX.

           44.   In June 2014, then-Assistant Secretary of Education Catherine Lhamon testified



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 before the United States Senate, warning that if the OCR could not secure voluntary compliance

 with the DCL from a college or university, it could elect to initiate an administrative action to

 terminate federal funds or refer the case to the Department of Justice.

        45.       To support its enforcement of the DCL, the OCR hired hundreds of additional

 investigators. To date, OCR has conducted over five hundred investigations of colleges for the

 potential mishandling of complaints of sexual misconduct--including Princeton, which was the

 subject of three separate complaints filed in 2010 and 2011. See Title IX: Tracking Sexual

 Assault Investigations, Chronicle of Higher Education, https://projects.chronicle.com/titleix/ (last

 visited February 1, 2019); OCR Determination Letter to Princeton (Nov. 5, 2014), available at

 https://assets.documentcloud.org/documents/2644774/OCR-Determination-Letter-to-

 Princeton.pdf.

        46.       The threat of revocation of federal funds—the ultimate penalty—was a powerful

 tool in motivating colleges to aggressively pursue and punish male students accused of sexual

 misconduct. In that regard, Anne Neal, of the American Council of Trustees and Alumni,

 observed: “There is a certain hysteria in the air on this topic, … It's really a surreal situation, I

 think.” See Tovia Smith, How Campus Sexual Assaults Came to Command New Attention,”

 National Public Radio (Aug.12, 2014), https://www.npr.org/2014/08/12/339822696/how-

 campus-sexual-assaults-came-to-command-new-attention.          Neal explained that “schools are

 running so scared of violating the civil rights of alleged victims that they end up violating the

 due process rights of defendants instead.”

        47.       Robert Dana, Dean of Students at the University of Maine, echoed the sentiment

 that a fear of governmental intervention and withdrawal of funds could lead colleges to rush to

 judgment against male students in disciplinary proceedings. See Tovia Smith, Some Accused of



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 Sexual Assault on Campus Say System Works Against Them, National Public Radio (Sept. 3,

 2014),     https://www.npr.org/2014/09/03/345312997/some-accused-of-campus-assault-say-the-

 system-works-against-them. Dana told NPR, "[c]olleges and universities are getting very jittery

 about it.” Id.

          48.      Likewise, on September 1, 2014, the Chronicle of Higher Education noted that

 colleges were facing “increasing pressure from survivors and the federal government,” including

 claims that college campuses had become “hazardous places” for female students. See Robin

 Wilson, Presumed Guilty: College Men Accused of Rape Say the Scales are Tipped Against

 Them,            Chronicle       of       Higher        Education        (Sept.       1,       2014),

 https://www.chronicle.com/article/Presumed-Guilty/148529. For example, the article noted that

 different standards were being applied to male students versus female students: “Under current

 interpretations of colleges’ legal responsibilities, if a female student alleges sexual assault by a

 male student after heavy drinking, he may be suspended or expelled, even if she appeared to be a

 willing participant and never said no. That is because in heterosexual cases, colleges typically

 see the male student as the one physically able to initiate sex, and therefore responsible for

 gaining the woman’s consent.” Id.

          49.      Indeed, this precise issue came to a head in a series of events that took place just

 weeks after this article was published: In late September 2014, at Miami University, Ohio, a

 female and male student engaged in various sexual acts while both claimed to be intoxicated; the

 university subsequently pursued sanctions against the male student, but not against the similarly

 situated female student. See Doe v. Miami Univ., 882 F.3d 579, 596 (6th Cir. 2018). In a

 decision issued recently in that case, the Sixth Circuit Court of Appeals found the male student

 sufficiently alleged gender-based unequal treatment as a result of the college’s refusal to pursue



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 disciplinary action against the female student for the same conduct on which it based disciplinary

 action against plaintiff, the male student.

                B. The 2017 Revocation of the DCL and Princeton’s Refusal
                   to Update its Policies and Procedures.

        50.     On September 22, 2017, the OCR rescinded the DCL and put in place interim

 guidance (the “2017 Q&A”), while the current administration reviews and revises its practices

 regarding the adjudication of complaints of sexual misconduct on college campuses receiving

 federal funding. See Dep’t of Ed., Q&A on Campus Sexual Misconduct (Sept. 2017),

 https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

        51.     As Secretary of Education, Betsy DeVos, noted, the rescission of the DCL was

 largely motivated by “[t]he truth … that the system established by the prior administration has

 failed too many students,” specifically because “[t]he notion that a school must diminish due

 process rights to better serve the ‘victim’ only creates more victims.” Press Release, Secretary

 DeVos Prepared Remarks on Title IX Enforcement (Sept. 7, 2017), available at

 https://www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforcement.

        52.     In rescinding the 2011 DCL, the OCR noted that it had placed “improper pressure

 upon universities to adopt procedures that do not afford fundamental fairness,” and “lack the

 most basic elements of fairness and due process, are overwhelmingly stacked against the

 accused, and are in no way required by Title IX law or regulation.” Id. (citations omitted).

        53.     In that regard, the 2017 Q&A prohibits universities from relying on fixed rules or

 assumptions that favor complainants over respondents.

        54.     The 2017 Q&A emphasizes the need for equal rights under Title IX proceedings,

 mandating that “[a]ny rights or opportunities that a school makes available to one party during

 the investigation should be made available to the other party on equal terms.” 2017 Q&A at 4.


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        55.     The 2017 Q&A also directs that “[w]hether or not a student files a complaint of

 alleged sexual misconduct or otherwise asks the school to take action, where the school knows or

 reasonably should know of an incident of sexual misconduct, the school must take steps to

 understand what occurred and to respond appropriately.” 2017 Q&A at 1.

        56.     The 2017 Q&A requires universities to “adopt and publish grievance procedures

 that provide for a prompt and equitable resolution of complaints of sex discrimination, including

 sexual misconduct.” Id. at 3 (emphasis added). In that regard, the “elements in evaluating

 whether a school’s grievance procedures are prompt and equitable[] includ[e] . . . ensur[ing] an

 adequate, reliable, and impartial investigation of complaints.” Ibid.

        57.     With respect to investigation, the 2017 Q&A requires “[a] person free of actual or

 reasonably perceived conflicts of interest and biases for or against any party [to] lead the

 investigation on behalf of the school.” Id. at 4.

        58.     The 2017 Q&A also requires investigators to “synthesize all available evidence—

 including both inculpatory and exculpatory evidence—and take into account the unique and

 complex circumstances of each case.” Id. at 4.

        59.     As the 2017 Q&A goes on to explain, “[e]ach party should receive written notice

 in advance of any interview or hearing with sufficient time to prepare for meaningful

 participation. The investigation should result in a written report summarizing the relevant

 exculpatory and inculpatory evidence. The reporting and responding parties and appropriate

 officials must have timely and equal access to any information that will be used during informal

 and formal disciplinary meetings and hearings.” Id. at 6.

        60.     The 2017 Q&A further directs that that those issuing sanctions must consider “the

 impact of separating a student from her or his education,” and sanctions should therefore “be



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 proportionate to the violation.” Id. at 6

        61.     The 2017 Q&A suggests that the policies and procedures in place at Princeton at

 all times relevant to this lawsuit – which were tailored in such a way as to comply with the DCL

 under the threat of loss of federal funding – were unfair and, ultimately, contrary to the goal of

 gender equality in Title IX proceedings.

        62.      Despite the sweeping changes caused by the rescission of the 2011 DCL and the

 implementation of the 2017 Q&A, Princeton administrators, including defendant Minter, stated

 Princeton would not change its policies and procedures. See Letter to the Editor: SHARE

 Statement     on      Title    IX,     The     Daily     Princetonian      (Nov.   15,     2017),

 http://www.dailyprincetonian.com/article/2017/11/share-title-ix (“Vice Provost Michele Minter,

 the University Title IX coordinator, affirmed that the University is not making any changes in the

 short term. ‘We believe that our policies are working well,’ she said.”)


                C. Princeton’s Continued Reliance on an Unfair, Unreliable
                   Process.

        63.     In Betsy DeVos’s press release preceding the rescission of the DCL, she

 acknowledged the massive pressure the DCL had improperly placed on universities, stating,

 “[n]o school or university should deprive any student of his or her ability to pursue their

 education because the school fears shaming by – or loss of funding from – Washington.” Press

 Release, Secretary DeVos Prepared Remarks on Title IX Enforcement (Sept. 7, 2017), available

 at https://www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforcement.

        64.     With respect to the rights of the accused, DeVos declared, “[e]very student

 accused of sexual misconduct must know that guilt is not predetermined,” and that “any school

 that uses a system biased toward finding a student responsible for sexual misconduct also



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 commits discrimination.” Id. She continued, “Due process is the foundation of any system of

 justice that seeks a fair outcome. Due process either protects everyone, or it protects no one.” Id.

        65.     In November 2018, the Department of Education released its proposed new Title

 IX regulations. See https://www2.ed.gov/about/offices/list/ocr/docs/title-ix-nprm.pdf.

        66.     The proposed regulations expressly disapprove of Princeton’s policies and

 procedures for adjudicating sexual misconduct claims—specifically, the use of one panel

 (including the Title IX coordinator) to conduct both the investigation and the adjudication

 (commonly known as the “single-investigator” model):

                Proposed section 106.45(b)(4) would address the process that
                recipients use to make determinations regarding responsibility,
                with requirements designed to ensure that recipients make sound
                and supportable decisions through a process that incorporates
                appropriate protections for all parties while providing adequate
                notice of such decisions. Requiring the decision-maker to be
                different from any person who served as the Title IX Coordinator
                or investigator forecloses a recipient from utilizing a “single
                investigator” or “investigator-only” model for Title IX grievance
                processes. The Department believes that fundamental fairness to
                both parties requires that the intake of a report and formal
                complaint, the investigation (including party and witness
                interviews and collection of documentary and other evidence),
                drafting of an investigative report, and ultimate decision about
                responsibility should not be left in the hands of a single person.
                Rather, after the recipient has conducted its impartial
                investigation, a separate decision-maker must reach the
                determination regarding responsibility; that determination can be
                made by one or more decision-makers (e.g., a panel), but no
                decision-maker can be the same person who served as the Title IX
                Coordinator or investigator.
                (emphasis added).
        67.     The proposed new regulations would also require the school to provide a live

 hearing and some form of cross-examination:

                For institutions of higher education, the recipient’s grievance
                procedure must provide for a live hearing. At the hearing, the
                decision-maker must permit each party to ask the other party and

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                any witnesses all relevant questions and follow-up questions,
                including those challenging credibility. . . . At the request of either
                party, the recipient must provide for cross-examination to occur
                with the parties located in separate rooms with technology
                enabling the decision-maker and parties to simultaneously see and
                hear the party answering questions. The decision-maker must
                explain to the party’s advisor asking cross-examination questions
                any decision to exclude questions as not relevant. If a party or
                witness does not submit to cross-examination at the hearing, the
                decision-maker must not rely on any statement of that party or
                witness in reaching a determination regarding responsibility.

                (emphasis added).

        68.     As one District Court has explained, “[t]he dangers of combining in a single

 individual the power to investigate, prosecute, and convict, with little effective power of review,

 are obvious. No matter how well-intentioned, such a person may have preconceptions and

 biases, may make mistakes, and may reach premature conclusions.” Doe v. Brandeis Univ., 177

 F. Supp. 3d 561, 606 (D. Mass. 2016).

        69.     Indeed, the Sixth Circuit has firmly established that in disciplinary cases where

 credibility is at issue, cross-examination is required in order to comport with due process. See,

 e.g., Doe v. Baum, 903 F.3d 575, 585-586 (6th Cir. 2018).

        70.     Despite the imminent changes to Title IX regulations and recent court decisions

 patently rejecting the same procedures employed by Princeton as fundamentally unfair and

 vulnerable to abuse, Princeton remains steadfast in its embrace of the biased and unreliable

 single investigator model. Princeton has even acknowledged that its current procedures would

 run considerably afoul of the proposed regulations.        See Allie Wenner, Resetting Title IX,

 Princeton Alumni Weekly (Jan. 9, 2019), https://paw.princeton.edu/article/resetting-title-ix

 (“Depending on where the final regulations land, we might have to make significant changes.”).

                D. Princeton Faces Years of Complaints for Failure to
                   Address Claims of Sexual Assault and Harassment
                   Allegedly Committed by Male Students and/or Faculty.

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        71.     Right around the time that the OCR was promulgating and implementing the 2011

 DCL, Princeton was under heavy fire for its alleged failure to properly respond to and redress

 female students’ claims of sexual assault and sexual harassment by male students and/or faculty.

        72.     On information and belief, in 2010 and 2011, three separate complaints were filed

 by or on behalf of female students to the OCR, accusing Princeton of insufficiently responding to

 claims of sexual assault and harassment. On information and belief, the people accused of

 assault and/or harassment in all of these cases were male.

        73.     In response to the three complaints, OCR launched an extensive, nearly four-year

 investigation into Princeton’s policies and practices in handling sexual misconduct claims, which

 included student interviews, document and file review, and on-site visits.

        74.     On information and belief, as a result of the investigation, OCR concluded that

 Princeton was in violation of Title IX for failing to adequately respond to and redress the female

 students’ claims of sexual misconduct.

        75.     On information and belief, in resolving the OCR complaint, Princeton agreed to,

 among other things, reimburse the tuition for three female students who had filed complaints.

        76.     Princeton also agreed to provide OCR with documentation of its response to and

 handling of reports of sexual misconduct.

        77.     After the 2014 OCR resolution agreement, Princeton was under enormous

 pressure to respond aggressively to claims of sexual misconduct, specifically misconduct

 allegedly committed against female students by male students and faculty.

        78.     On information and belief, in May 2016, another complaint was filed with OCR

 alleging Princeton failed to adequately respond to a female student’s claims of sexual

 misconduct by a male. On information and belief, OCR opened a new investigation at Princeton



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 in August 2016. On information and belief, this investigation is still ongoing.

        79.     In 2017, Princeton was again in hot water due to an alleged sexual misconduct

 scandal—this time, between a female graduate student and a male faculty member. After

 Princeton initially declined to terminate the faculty member, the female complainant initiated a

 full-on media blitz and campus movement condemning Princeton’s seemingly “lax” response to

 her harassment claims, which led to numerous student meetings, op-eds, petitions and boycotts,

 and mass-letter writing campaigns lambasting Princeton for imposing anything less than

 termination of the male faculty member. Indeed, due in part to the massive backlash Princeton

 faced for its decision not to impose the harshest penalty possible on the male respondent,

 Princeton subsequently changed it policies to impose a default sanction of suspension for faculty

 violations of the sexual harassment policy, regardless of the individual facts of the case.

        80.     In an editorial published in the Daily Princetonian discussing the 2017 Q&A and

 Princeton’s response of not changing its policies, one Princeton student observed: “The

 University, with its $25.9 billion dollar endowment, well-connected alumni, and strongly-

 opinionated student body, would likely face severe public backlash, as it has in the past, if it

 rolled back its Title IX protections for students. With a faculty-student sex scandal in 2017 and

 two others in 2014, the University’s public image has the potential to be tainted more by lax Title

 IX enforcement . . . .” Jasman Singh, Title IX Changes Are Going to Hurt Those that Need the

 Enforcement       the     Most,      The      Daily      Princetonian      (Nov.      28,     2018),

 http://www.dailyprincetonian.com/article/2018/11/title-ix-changes-are-going-to-hurt-those-that-

 need-the-enforcement-the-most.

        81.     Singh continued, “DeVos’s Title IX reform seeks to hinder the progress that

 today’s #MeToo movement has made in creating transparency and exposing corruption and



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 abuse at the highest levels of our society. With a nationally covered faculty-student sex scandal

 in 2017, the wound is fresh for Princeton . . . .” Id.

        82.     On information and belief, Princeton’s history of complaints, OCR investigations,

 considerable bad press, and heavy student criticism regarding its perceived mishandling of

 claims of sexual misconduct committed by male students and faculty—which continued through

 the time period of Roe’s complaint against Plaintiff—placed extremely heavy pressure on

 Princeton to “over-correct” by favoring protection of female students and finding male

 respondents guilty regardless of the facts of the case.

        83.     Indeed, on information and belief, on July 28, 2018, OCR opened an investigation

 of potential gender bias stemming from Princeton’s offering of a Rape Aggression Defense

 System course only to female students. The course description described the disputed program

 as “dedicated to teaching women defensive concepts and techniques against various types of

 assault.” See Philip Sean Curran, University Programs Under Fire for Title IX Complaints, The

 Princeton      Packet      (Aug.      3,     2018)        (emphasis   added),      available      at

 https://issuu.com/centraljersey.com-newspapers/docs/pp_08-03-18.

        84.     Furthermore, according to Princeton’s 2017 We Speak report, assessing campus

 climate survey results, approximately 8% of male undergraduates reported experiencing

 nonconsensual sexual contact, and approximately 44% of male students who reported

 experiencing sexual misconduct stated it was perpetrated by women.

        85.     Notably, the same survey revealed that the percentage of male students who

 believe that Princeton does not hold perpetrators of sexual misconduct accountable for their

 actions was nearly double the percentage of female students who felt that way. Taken together,

 these statistics imply that Title IX complaints against female students are pursued at a lower rate,



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 and female respondents are found responsible at a lesser rate and sanctioned less harshly than

 male students accused of sexual misconduct.

        86.     On information and belief, in addition to the threat of bad press, campus unrest,

 and the loss of federal funding, Princeton also faced the threat of additional financial losses, such

 as the tuition reimbursements resulting from the 2014 OCR resolution, if it failed to find male

 students accused of sexual misconduct responsible and punish them severely.

        87.     On information and belief, this direct and constant pressure created an

 institutional bias against males accused of sexual misconduct, which infected Princeton’s

 processes and procedures as applied to Plaintiff.

        88.     On information and belief, in the time period leading up to Princeton’s

 adjudication of the Title IX claims against Plaintiff, the internal and external pressure placed on

 Princeton to aggressively pursue claims of sexual misconduct allegedly committed by males

 lead to an institutional bias in the process, as well as selective enforcement based on gender.

        89.     The pressure on Princeton to favor Title IX complainants, to take complaints at

 face value, and to summarily suspend or expel Title IX respondents has only increased in the

 time since Plaintiff’s case was decided: In April 2019, a Title IX complainant who was

 dissatisfied with Princeton’s handling of her case defaced numerous parts of the campus with

 phrases like “Title IX protects rapists.”

        90.     The student was fined by the school and placed on probation for the defacing of

 school property.

        91.     In response, the Princeton student body sprung into action, setting up a

 GoFundMe page to pay the student’s fines, and staging a protest against Princeton’s Title IX

 office for being too lenient on alleged assailants.



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         92.     The protesting students lambasted the Title IX process as not survivor-centric,

 indicating that the process of being interviewed and questioned re-traumatizes complainants,

 and demanded funding to provide attorneys for complainants (and not respondents), so that they

 may more successfully prosecute their cases.

         93.     Within hours, the GoFundMe page had raised nearly double the amount of the

 students’ fines, pledging to donate the excess to Womenspace, “a local non-profit agency that

 provides numerous services to women in crisis.”

         94.     One of the donors to the GoFundMe page, a Princeton professor, commented, “I

 am so furious that the university admin would slam a student like this, and for what she did. I

 will write a letter to the president and provost . . . .”

         95.     In addition, Princeton’s SHARE counselors mass-emailed a link to the

 GoFundMe page to the Princeton student body, seeking donations and stating that “Title IX

 does protect rapists.” (emphasis in original).

         96.     The email also contained patent misinformation regarding the proper standard

 for consent—which is particularly disturbing, given it was authored and distributed by

 Princeton’s own office dedicated to educating students on sexual harassment and assault.

         97.     The serious, wide-spread, and vitriolic backlash directed toward Princeton for

 daring to penalize a single female Title IX complainant for blatant conduct code violations

 displays the immense and uniform pressure placed on the University to venerate female Title

 IX complainants and severely punish respondents.

  II.    PRINCETON’S HISTORIC REFUSAL TO ADDRESS PROBLEMS AT THE

         EATING CLUBS.

         98.      Throughout Plaintiff’s Title IX case, he repeatedly recounted events at Tiger



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 Inn that constituted flagrant violations of Princeton’s various conduct policies, including the

 sexual misconduct policy and the anti-hazing policy. Yet, Princeton did virtually nothing about

 Plaintiff’s reports.

         99.     Apparently, Princeton is more than happy to sit on the sidelines as egregious

 sexual harassment, physical abuse, and hazing takes place at the eating clubs, as long as it can

 plausibly shirk any responsibility for these bad acts by shrugging off the eating clubs as

 “independent, private institutions that do not have any formal ties to the University”—a

 spurious claim, considering they are centers of student life that are exclusively for Princeton

 student use, and for which Princeton provides both financial and administrative support.

         100.    As described on Princeton’s own website:

                 Princeton Eating Clubs are part of a tradition that dates back to
                 1879. In the early years, the University did not provide students
                 with dining facilities, so students created their own clubs to
                 provide comfortable houses for dining and social life. Eating clubs
                 are unique to Princeton and the most popular dining and social
                 option for students in their junior and senior years. . . . Students
                 are eligible to join a club in the spring of sophomore year, and that
                 is when most students join. All of the clubs, both selective and
                 open, organize events for sophomores to visit the clubs to learn
                 more and meet members. Students join as social members for the
                 balance of their sophomore year with some limited meals, but full
                 membership begins in the fall of junior year. Some of the clubs
                 continue to take new members who are juniors and seniors as well.
                 Currently, 70% of upperclass students (juniors and seniors) are
                 members of a club.

                 The clubs each have approximately 150 – 200 undergraduate
                 members and maintain strong ties with their alumni members.
                 Alumni frequently return to campus during the fall for a game, or
                 in the spring for reunions, and will often use their club as a home
                 to have a meal, catch up with friends, and have the opportunity to
                 meet current undergraduate members. Membership in your eating
                 club lasts for life, and many Princeton students say their closest
                 friendships, during and after college, were formed with their
                 clubmates.

                 (emphasis added).

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         101.    Indeed, a 2010 Report by the Task Force on the Relationship Between the

 University and the Eating Clubs recognized that “[w]hether by design or default, most social

 life at Princeton revolves around the clubs, and . . . the burden of providing students with social

 life falls on them and their members, even though the participants in their parties and activities

 include many non-members . . . .”

         102.    Moreover, because Princeton has no officially recognized fraternities or

 sororities, eating clubs provide the forum for a considerable portion of Princeton students’

 social activities:

                 In the absence of dining halls in th[e upper classmen] dorms, more
                 than 70 percent of juniors and seniors join an eating club. . . . The
                 [eating] clubs have evolved into much more than a place to take
                 meals and can border on an obsession for those vying for entry to
                 the older, more prestigious ones. . . . The clubs have also become
                 known for underage drinking and noisy parties, in part because of
                 the university’s longstanding ban on fraternities and sororities. . . .
                 “You talk to people who are 60 or 70 years old, and the thing they
                 remember most about being at Princeton is being in the eating
                 clubs,” . . . .

                 Winnie Hu, More Than a Meal Plan, New York Times (July 29,
                 2007) (emphasis added).

         103.    In that regard, much like the traditional fraternities they supplant, Princeton’s

 eating clubs form the basis not just for students’ social connections while at school, but also

 provide a network of well-connected alumni once they graduate. Counted among Princeton’s

 eating club alumni are Woodrow Wilson, Supreme Court Justice Elena Kagan, F. Scott

 Fitzgerald, Jimmy Stewart, Donald Rumsfeld, and Jeff Bezos.

         104.    As such, membership in an eating club is not merely a meal plan option, it is a




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 highly coveted, competitive, selective process5 that will dictate a students’ future social life at

 Princeton and, potentially, their future career opportunities.

        105.    “Bicker” is the name for the three-day application process of trying to get into a

 selective eating club at Princeton. The bicker process involves various games, events,

 competitions, and interviews between eating club members and prospective members.

        106.    Despite Princeton’s regular attempts to disclaim liability for misconduct at the

 eating clubs, the reality is that Princeton has long enjoyed “an interdependent relationship” with

 the eating clubs “that is ongoing, cohesive, [and] reciprocal.” See 2017-2018 Final Report of

 the Task Force on the Relationship between the University and the Eating Clubs.

        107.    W. Rachel Calhoun, Princeton’s Vice President for Campus Life—who also

 served as a member of the Student Appeals Committee that considered and ultimately denied

 Plaintiff’s appeal—has acknowledged that the clubs rely on University resources as part of that

 “interdependent” relationship.      Anna Wolcke, Behind Closed Doors: How Princeton’s

 Administration Is Turning a Blind Eye to Serious Safety Issues in Its Secret Bar District,

 Nassau Weekly (Feb. 17, 2019).

        108.    In 1990, the Supreme Court of New Jersey recognized the interdependent

 relationship between TI and the University, holding that “[w]here a place of public

 accommodation and an organization that deems itself private share a symbiotic relationship,

 particularly where the allegedly "private" entity supplies an essential service which is not

 provided by the public accommodation, the servicing entity loses its private character and

 becomes subject to laws [regarding public accommodations.]” Frank v. Ivy Club, 120 N.J. 73



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   While some of Princeton’s eating clubs are “sign-in,” meaning they do not select members by
 the “bicker” process, Princeton’s oldest and most prestigious clubs—including TI—are
 competitive bicker clubs.

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 (1990).

           109.   In that regard, the University supplies considerable resources to the eating clubs

 and their membership, including: (i) University-sponsored wi-fi and connection to and use of

 Princeton’s network; (ii) increased financial aid to juniors and seniors specifically to subsidize

 membership in the eating clubs; and (iii) the opportunity to utilize “shared meal plans” between

 Princeton and the eating clubs, the application for which is controlled and administrated

 through Princeton’s campus housing registration process.

           110.   In addition to the shared resources between Princeton and the eating clubs, they

 also share a code of conduct: The eating clubs have adopted a “statement of principles” that

 expressly incorporates Princeton’s conduct policies into the club policies. In turn, Princeton’s

 conduct policies define their scope of application as including “conduct that occurs on

 University property (i.e., on campus) and in the local vicinity.”

           111.   In addition, Princeton’s conduct policy regarding hazing expressly states that it

 applies to the eating clubs, and Princeton even created a specific behavior policy for the eating

 clubs, which it coyly titles, “Conduct at Prospect Avenue Clubs.”

           112.   In sum, the eating clubs form a central part of the social scene at Princeton,

 receive University resources and administrative support, incorporate the Princeton code of

 conduct into their own policies, and, on information and belief, cater exclusively to Princeton

 students and their guests.

           113.   Indeed, Mark Burstein, Princeton’s former executive vice president, summed up

 the relationship as follows: “We see a strong connection to the eating clubs . . . .You can’t

 really separate out entities that are so essential to your student population. I would say that we

 are part of the same family.” Winnie Hu, More Than a Meal Plan, New York Times (July 29,



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 2007).

          114.   Thus, despite Princeton’s thinly veiled claims of separate ownership, it is

 irrefutable that Princeton exercises considerable control over the eating clubs, and at the very

 least, over the conduct of Princeton students therein.

          115.   Moreover, despite the undeniably well-meaning foundation of the eating clubs, it

 is equally undeniable that such clubs have had a long history of rampant alcohol abuse and

 misconduct, dating back over thirty years:

                 After eating club sign-in ceremonies at Cloister Inn and Charter
                 Club on Feb. 6, 1988, 39 students ended up at McCosh Health
                 Center with alcohol poisoning. Seven more were sent directly to
                 Princeton Medical Center, now known as the University Medical
                 Center of Princeton at Plainsboro, with one sophomore in an
                 alcohol-induced coma.

                 Shriya Sekhsaria, A Walk Down the Street: Looking Back at Eating
                 Club Officers’ Long History of Resignations, Daily Princetonian
                 (Jan. 2, 2018) (emphasis added).

             A. The Tiger Inn: “Princeton’s Animal House.”

          116.   In addition to its reputation as one of the oldest and most prestigious clubs at

 Princeton, the Tiger Inn is equally infamous for its historic culture of alcohol abuse, sexual

 harassment, belligerence, and dangerous misbehavior.

          117.   In 1987, Princeton held its first “Take back the Night” event for survivors of

 sexual assault. As the event participants marched down Prospect Avenue, “Princeton’s version

 of a fraternity row,” it was noted that anecdotal reports of sexual assault at the eating clubs far

 outnumbered reports of assault elsewhere on campus. See Caroline Kitchener, When Helping

 Rape Victims Hurts a College’s Reputation, The Atlantic (Dec. 17, 2014).

          118.   The greeting that event participants received from Princeton’s eating club

 members did nothing to dispel those stories:


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                When the marchers turned onto Prospect Avenue, they found a
                group of 30 male students waiting for them. One held a sign that
                said “We can rape whoever we want.” Another pulled down his
                pants, yelling, “You can suck my dick!” The rest shouted other
                threats and insults, including “Get raped!” “Fucking beat them
                up!” and “Take back the dykes!” Two of the men then drove a car
                towards the marchers, crashing into two protesters at the front of
                the group.

                Id.

        119.    A few years later, as TI was the last eating club at Princeton vehemently fighting

 against gender integration, one reporter unveiled some of TI’s long-standing traditions:

                For no one knows quite how long, new members at the Tiger Inn
                have participated in an induction ceremony unlike that at any other
                Princeton University eating club. Initiates, once sufficiently
                sloshed, are hoisted into the air and passed hand to hand down the
                club's wide wooden staircase. At the bottom, they are presented
                with a Tiger Inn striped tie, which they immediately put on. The
                tie is all they have on.

                Despite principled talk about the Constitution, what appears to be
                at stake is whether a group of Ivy League gents must change
                traditions that include running around naked, fighting with plastic
                clubs and Viking swords, degrading each other's female friends
                and drinking themselves sick. The only aspect of their clubby ways
                that Tiger Inn members seem to take seriously is the vow to keep
                their rituals so secret that most went unrevealed until a student's
                anthropology thesis told all. "At a school like Princeton, part of
                what makes Tiger Inn great is there are no academic or intellectual
                activities here," said Stockton Williams, club president. . . . "Really
                it's a bunch of guys getting drunk, and it's stupid and sophomoric.”

                . . . Traditions that have evolved from one Tiger Inn generation to
                the next include "Viking Night," "Trees and Trolls" and "Tequila
                Sprints." . . . [P]hotographs show, for example, young men in togas
                or ripped T-shirts chugging beer and vomiting collectively. They
                also are seen using indelible markers to write profanity on each
                other's buttocks and chests . . . .

                Laurie Goodstein, Raucous Tiger Inn and the Male-Bonding Thing,
                Washington Post (Dec. 21, 1990).

        120.    Over time, although TI’s membership slowly became a mix of male and female,


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 the primary TI traditions—nudity, excessive alcohol consumption, and degradation—remained

 steadfast.

         121.   In 2006, the Tiger Inn was forced to go “dry” for two months following its

 initiation ritual “pickups,” due to “problems with alcohol abuse, including two reports of alleged

 sexual assaults.”   Jennifer Epstein, A Reformed Tiger Inn Opens Its Doors Again, Daily

 Princetonian (Apr. 13, 2006). On information and belief, these reports were the second instance

 of sexual assault allegations at TI that year. See Winnie Hu, More Than a Meal Plan, New York

 Times (July 29, 2007).

         122.   Hap Cooper, a Princeton and TI alumnus who served as TI’s graduate advisor for

 over a decade, observed, “It had gotten to the point where people on Prospect were saying, ‘It’s

 T.I., what do you expect?’” Id.

         123.   Following this event, TI’s leadership vowed to address the dangerous culture at

 the eating club. They instituted new safety policies, citing “the club’s attempt ‘to do the right

 thing’ and ‘encourag[e] different values, a different culture’ of safety and respect on [Prospect]

 Street.” Jennifer Epstein, A Reformed Tiger Inn Opens Its Doors Again, Daily Princetonian

 (Apr. 13, 2006).

         124.   In that regard, Hap Cooper stated that TI was seeking to “change the culture and

 practices of the club, making it the ‘fun and safe place it should be’ . . . ‘We’re concerned about

 alcohol and the bad decision-making that can result,’ [Cooper] said.” Id.

         125.   One of TI’s new policies to spring from this event, which was included in a nine-

 page document distributed to TI members, was that “only those members who are 21 or older

 [will be permitted] to go behind the taps and serve beer. Servers are expected to abide by the

 legal drinking age and ‘[a]lcohol will NOT be served to anyone without a valid [hand] stamp or



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 who is known to be under 21 years of age,’ the document said.” Id. (second and third alterations

 in original).

           126.   According to TI representatives, “the club [was] ready for significant value-based

 reform,” and wanted to “facilitate ‘morals, values and culture, personal accountability.’” Id. In

 that regard, they noted that “[t]he problem seems to be a complex interaction of high-risk

 drinking, group dynamics, peer pressure and the intimate nature of the Princeton social scene,”

 which “act to create a context that amplifies the danger of these heartrending events occurring

 while discouraging students from preventing them or[,] after they have occurred, from reporting

 them for fear of being socially ostracized or marginalized.” Id.

           127.   On information and belief, Princeton is well aware of the pressure that students

 face when competing for membership in an eating club, as well as the severe ostracization one

 would face should he or she end up being responsible for more oversight by the school, or, even

 worse from their perspective, shutting down the club.

           128.   However, rather than taking proactive steps in response to this understandable

 hesitation, Princeton relies on it as an excuse to sit by the wayside and do nothing, claiming that

 it is simply powerless unless potential reporting students—usually sophomores—name specific

 TI members and the specific acts each person committed, despite the fact that Princeton knows

 the identities of the club officers and members, and could easily investigate more generalized

 claims.

           129.   Presumably, the 2006 changes in TI’s safety policy and seemingly serious

 concerns by TI’s representatives and governing body should have led to a decrease in underage

 and excessive drinking, lower peer pressure, and less fear of being socially ostracized in case of

 reporting. Yet, few of those objectives came to fruition.



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        130.    Just six months later, TI’s president was criminally charged with serving alcohol

 to minors. The charge was then transferred to the graduate board, allowing the president to skirt

 any personal responsibility. On information and belief, Princeton took no action in response to

 the charges against the TI president.

        131.    In 2010, members of the eating club governance and Princeton administrators

 joined together to form a “Task Force on the Relationship Between the University and the Eating

 Clubs.”

        132.    Noting that “more than two-thirds of all juniors and seniors join the 10 clubs that

 currently exist, and for members and many nonmembers alike, the clubs play a central role in the

 social life of the campus,” the Task Force issued a report in May 2010 to identify the main

 objectives and recommended action plans to improve Princeton students’ experiences vis-à-vis

 the eating clubs. At one of the Task Force meetings, a member raised the issue of the “dark

 side” of the eating club culture, including its “culture of alcohol.”

        133.    The Task Force report section on “alcohol and safety” read as follows:

                Many older alumni remember a time when alcohol was much less
                central to social life at the clubs than it appears to be today. They
                remember limits on the number of party nights that could occur
                each year and the amount of time a club could spend “on tap.”
                Now most clubs treat every Thursday and Saturday night as a party
                night, and beer may be on tap most if not all nights of the week.
                One alumnus characterized the change as one from “eating clubs”
                to “night clubs,” and many asked whether it was possible to scale
                back the centrality of alcohol in the life of the clubs. The concern
                was not about the responsible consumption of alcohol, but its
                pervasiveness, especially in settings where most club members are
                likely to be below the legal drinking age. There were also concerns
                that a number of students are deterred from joining clubs because
                of this alcohol culture; that emphasis on alcohol detracts from
                other positive aspects of club membership; and that emphasis on
                alcohol can encourage excessive drinking . . . .

                [T]he fact that the alcohol is “free” can encourage excessive
                consumption, and unfortunately there continue to be occasions

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               when hard alcohol is consumed and dangerous drinking is
               encouraged, or at least condoned, especially during initiations.
               Students express concerns about pressures they feel to drink at the
               clubs or as part of the selection process, and about drinking
               contests and other organized incentives to drink to excess. On the
               Saturday of initiations at one of the clubs this spring, hard alcohol
               was served to newly admitted members at various stations within
               the club, and the club set up a “sick room” with tarps on the floor,
               buckets for vomiting, and other preparations in expectation that
               students would drink to excess. Even if excessive drinking was not
               “encouraged,” it certainly was expected, and the presence of hard
               alcohol increased the risk that students would in fact need to make
               use of the room. While this may have been an isolated instance of
               bad judgment on the part of this particular club, there are many
               examples of similar occurrences at other clubs, as well as recurring
               incidents like one club’s annual “Viking night,” which is
               characterized by excessive drinking and occasional property
               damage at other clubs.6 Excessive drinking has serious health and
               safety implications not only for the students who drink, but for
               others who may be affected by their actions, including students
               who become victims of sexual harassment and assault.

               As a task force, we call upon the clubs and the University to:
                   Continue to take steps to reduce the pervasiveness of
                       alcohol in the clubs, and especially the risks of excessive
                       drinking. . . .

                      Reaffirm the importance of steps taken by the clubs in
                       recent years to better control excessive consumption of
                       alcohol, including better security, wrist-banding, the
                       provision of water and other alternative beverages, and
                       better training of bartenders and club officers. The clubs
                       should consider whether further steps along these lines
                       could be taken, and whether they can take steps to reduce
                       the time on tap and the number of party nights, and to
                       discourage drinking games, dangerous initiation or other
                       “hazing-type” rituals, and other incentives to drink to
                       excess.

               2010 Task Force Report at 12-13 (emphasis added).

        134.   In that regard, the Task Force made the following ultimate recommendations:

 “Consider whether additional steps should be taken . . . to better control excessive consumption

 6
    According to the 1990 Washington Post article mentioned supra, Viking Night is a Tiger Inn
 tradition.

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 of alcohol and discourage drinking games, dangerous initiation rituals and other incentives to

 drink to excess.” 2010 Task Force Report at 22.

         135.    In May 2011, Princeton’s Working Group on Campus Social and Residential Life

 addressed similar concerns and made similar recommendations, including that

                 The University should significantly increase its commitment to
                 enforce policies that prohibit serious forms of hazing. . . . We are
                 very concerned about the dangerous drinking and other dangerous,
                 demeaning and dehumanizing behaviors . . . . These can occur as
                 part of “hazing,” but also in other “requirements” that can be part
                 of the pledge process or “bonding” activities. We heard from
                 several students about the horrific nature of these behaviors . . . .

                 Hazing is illegal under New Jersey law and University policies
                 already prescribe serious penalties for students who engage in
                 hazing, no matter where or under whose auspices that hazing
                 occurs. We believe the risks associated with this kind of behavior
                 are significant, and that the University should become even more
                 vigilant in imposing highly consequential disciplinary penalties on
                 students found to have engaged in hazing that seriously threatened
                 the health and well-being of any student. In making this
                 recommendation we intend to encompass serious hazing wherever
                 it occurs. . . .

                 May 2011 Working Group Report at 34-35.

         136.    Much like TI’s sweeping declarations of change in 2006, and the

 recommendations of the Task Force just one year prior, these objectives yet again proved to be

 little more than lip service.

         137.    According to a 2013 article in the Atlantic:

                 Walk down Prospect Avenue in Princeton, New Jersey on the first
                 Sunday in February, and you'll find a horde of shivering college
                 sophomores huddled together on a front lawn, smeared in ketchup,
                 maple syrup, and egg yolk. They're organized into stations: one
                 group choking down live goldfish, the other pounding out push-ups
                 as senior members shovel dog food into their mouths. These are
                 the students trying to win membership at Tiger Inn (or TI), widely
                 known as the frattiest and hardest-drinking of Princeton
                 University's 11 eating clubs. I'm a student at Princeton, and before
                 I even arrived on campus my freshman year, I heard the Tiger Inn

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                  stories: competitive projectile vomiting, harmonious chanting of
                  “tits for beer,” and naked guys standing on tables while strumming
                  their “penis guitars.”

                  Caroline Kitchener, There Is No Pressure for a Girl to Be a Girl,
                  The Atlantic (Aug 1, 2013) (emphasis added).

          138.    There are no public reports of Princeton taking any action in response to this

 published account of disgusting hazing activity by TI.

          139.    The article, which was primarily about the influx of female TI members, revealed

 that TI’s reputation was as well-deserved as ever:

                  As one rising TI senior told me, “The guys always want us girls to
                  chug a beer or take a shot, or be a man.” . . . As one male TI
                  graduate put it, Tiger Inn advocates “equal-opportunity slobbery.”
                  . . . Tiger Inn remains the club “with the highest per-capita
                  alcohol...consumption and the most booting7 on the Street,”
                  according to the campus paper. And this reputation doesn't just go
                  for the guys. . . . “Sunday brunch pretty much sums it all up,” one
                  rising TI senior said. On Sunday morning, everyone comes to the
                  club in sweatpants, because it would be “weird” to show up
                  looking nice. All members sit down together, wolfing down eggs
                  and bacon while proudly discussing their drunken pursuits from
                  the night before. “Girls can say, ‘Last night I blacked out
                  somewhere,’ or ‘I woke up somewhere,’” a recent female TI
                  graduate said. “No one cares.”

                  Id.

          140.    In March of 2014, all but two of TI’s undergraduate officers were forced to resign

 their positions after TI hosted an unauthorized party, which was called a “serious security

 breach.” See Lorenzo Quiogue, Tiger Inn President and Three Officers Resign Following

 Unauthorized Party, Daily Princetonian (Mar. 12, 2014). Although TI’s members and the eating

 club governance were careful not to disclose the precise nature of the unauthorized activity, it

 was eventually revealed that the unauthorized party was a meeting of the notorious “21 Club.”

 Id.

 7
     “Booting” is slang for vomiting.

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        141.     A full description of the 21 Club was detailed in a 2009 article in Princeton’s own

 school paper:

                 Founded in 1881, the secret society includes a group of 42 male
                 juniors and seniors who must consume 21 beers in 42 minutes at
                 their annual contest, held the morning after Winter Formals. Every
                 year, each of the 21 senior members selects one junior who will
                 take his place. Five members each are picked from Cottage Club,
                 Cap & Gown Club, Ivy Club and Tiger Inn, and one student is
                 chosen among independents. . . .

                 The contest
                 The members assemble at one of the eating clubs on the morning
                 of the contest . . . . [E]ach club provides one or two kegs. “It’s a
                 scary thing … We’re all sitting there with a big dumpster in the
                 middle, and the older brothers are behind you feeding you beers,
                 and you have to [drink one] every [other] minute, no stopping, and
                 people are yelling at you,” [a member] explained.

                 Even before the contest begins, the juniors must each drink seven
                 social beers in addition to the 21 they will later consume.
                 “Keeping it down is not the point,” [a member] said, adding that
                 there was a certain sense of apprehension among the new
                 members. “There were only five people per club, and we finished
                 a keg, like, a half-hour in,” [a member] said. “They had to go and
                 get another one. That was my first realization: I was, like, ‘Oh,
                 shit.’” Most members start vomiting while drinking the social
                 beers, he added, noting that the next year’s contest is held at the
                 club of whoever vomits first because “no one wants it at their
                 club.”

                 The last person to vomit is appointed the club’s vice president,
                 while the member who can chug a pitcher of beer the fastest after
                 the contest ends becomes the president, he added. . . . Every time a
                 member vomits while drinking the social beers, the entire group
                 must drink an additional penalty beer. This year, there were 12
                 penalties in addition to the original 21, [a member] said, adding
                 that this year’s contest ended early, before all penalty beers had
                 been consumed, because many members were unconscious or
                 unable to drink more. . . . . “People have gotten [sent to McCosh
                 Health Center] routinely every year,” he said. . . .

                 After completing the contest, each member is rewarded with a 21
                 Club card, which grants him entrance to all four clubs even on
                 members-only nights and allows him behind the tap. Each card


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                   lists on which beer the member first vomited — for those who
                   vomit during social beers, that number is “0” — and in what order
                   the member vomited compared to the others.

                   Melanie Jearlds, An Elusive Institution, Daily Princetonian (May
                   15, 2009).


            142.   Notably, Hap Cooper, one of the primary governing alumni of TI, was, himself,

 president of the 21 Club during his time at Princeton—at least according to his own LinkedIn

 profile.

            143.   It is extremely telling that one of the people in charge of regulating and ensuring

 safety at TI proudly declares himself a former president of a club dedicated exclusively to

 reckless, dangerous, excessive consumption of alcohol.

            144.   Unsurprisingly, Cooper would “neither confirm nor deny” that the unauthorized

 party at TI in March of 2014 was related to the 21 Club, plainly showing that his priorities lay in

 protecting the tradition rather than the safety of Princeton students.

            145.   Apparently, the party was discovered when members of the TI graduate board

 reviewed security footage from the incident, showing members of the 21 Club “throwing the

 place apart” and “throwing up everywhere.” Lorenzo Quiogue, Tiger Inn President and Three

 Officers Resign Following Unauthorized Party, Daily Princetonian (Mar. 12, 2014).

            146.   As a result of the forced resignation of most of TI’s officers, TI held an election in

 March 2014 to elect new officers.           Lorenzo Quiogue, 21 Club Forces TI to Elect New

 Leadership, Daily Princetonian (July 30, 2014). The elections were preceded by a “town hall”

 meeting, where TI members were given details of exactly what happened on the night of the

 unauthorized 21 Club party. Id. And yet, the membership by and large kept those details secret;

 Hap Cooper himself refused to respond to follow-up calls and emails from the author of the



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 Princetonian article.

           147.   In response to the forced resignations, over 100 members of TI signed a petition

 claiming the resignation was unnecessary: “The decision [to fire four officers] . . . will likely

 produce no productive results, has served only to further alienate the membership and foster the

 impression that the Graduate Board views us as irresponsible children . . . . The truth is this: the

 new officer corps inherited a hostile environment, which was the product of years of

 irresponsibility and bad luck.” Id.

           148.   Despite their protest about the 21 Club incident primarily being the result of “bad

 luck,” and their disdain for being treated as “irresponsible children,” TI was in trouble once

 again just six months later, for multiple incidents.

           149.   On or about October 10, 2014, “an intoxicated first year” student allegedly began

 performing oral sex on a senior member of TI on the dancefloor at a TI party. Someone took a

 picture of the event, and two days later, a TI officer—who was, on information and belief,

 elected after the prior officers stepped down in March—emailed out the photo to the entire Tiger

 Inn undergraduate listserv, with the caption “Ivy8 blows, and apparently so does this Asian

 chick.” See Krystal Knapp, More Trouble for Private Eating Club at Princeton University:

 Student Allegedly Distributed Photo of Freshman Performing Sex Act at Party, Planet Princeton

 (Nov. 4, 2014); see also Anna Wolcke, Behind Closed Doors: How Princeton’s Administration

 Is Turning a Blind Eye to Serious Safety Issues in Its Secret Bar District, Nassau Weekly (Feb.

 17, 2019).

           150.   Another TI officer responded on the email chain, “Tru[e].”

           151.   Princeton’s Daily Crime Log showed a report of sexual assault on October 10,



 8
     Ivy club and TI have a long-standing rivalry.

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 2014, with the address of the alleged assault listed as Tiger Inn. It is unknown whether this

 report relates to the incident on the dance floor, or a separate alleged assault that night.

        152.    On information and belief, no TI members reported the photo or the events it

 depicted to the police. On information and belief, it was a Planet Princeton reporter breaking the

 story who reported it to police at the beginning of November 2014. See Nicole Mulvaney,

 Princeton University Private Eating Club Faces Investigation Over Alleged Photo of Sex Act,

 NJ.com (Nov. 4, 2014).        According to local police, even after they opened a case, their

 investigation was hampered by the fact that no witnesses would come forward.

        153.    In response to an inquiry about the investigation, Princeton spokesperson Martin

 Mbuga was quick to offer that the Tiger Inn fell under local police jurisdiction, although he did

 claim a University investigation was underway. Id. Hap Cooper also responded to state that TI

 was conducting its own investigation. Id. The outcomes of both of those investigations are

 unknown.

        154.    Approximately a week after Planet Princeton published its article about the

 alleged sex act email, someone spray-painted the stone walls outside of the Tiger Inn with the

 words “RAPE HAVEN.” See Tammy Tseng, TI Becomes Vandalism Target Following Alleged

 Distribution of Sex Photo, Daily Princetonian (Nov. 12, 2014).

        155.    On information and belief, it was only after all the news attention to the email

 incident, as well as the quickly publicized vandalism, that Hap Cooper decided to send a

 message to the TI membership to address the incidents.

        156.    In the email, Cooper blatantly acknowledged the long history of dangerous and

 inappropriate behavior at TI: “There is a culture re-emerging at TI that makes some of our

 members feel unsafe. We went down this road a decade ago . . . and it didn’t end well. We



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 WILL NOT go down this road again. All behavior or communication that makes other members

 feel disrespected, uncomfortable or unsafe must stop now. Future violations will be grounds for

 termination.” Jen Chung, Princeton University Eating Club Called “Rape Haven” After Recent

 Incident, Gothamist (Dec. 2, 2014) (emphasis added).

          157.   Shortly thereafter, TI’s graduate board sent out a survey to the undergraduate

 members about the incident, as well as the general culture and issues at TI. See Krystal Knapp,

 Princeton Eating Club Ousts Two Officers in Wake of Email Scandal, Planet Princeton (Dec. 1,

 2014).

          158.   In response to the survey results, the TI officer responsible for the email was

 asked to step down.9 The officer who had responded to email, however, was allowed to remain.

 Id. The graduate board wrote, “After carefully listening to all sides—and to you—it is clear to

 us that the actions taken by [the two officers] in the second week of October were offensive,

 disrespectful and in direct violation of our core values.” Id.

          159.   Apparently, TI’s leadership needed a survey to assess whether distributing photos

 of a freshman engaging in a sex act, along with a crass racial joke, was “disrespectful.”

          160.   In the same email announcing the resignation of the officer, TI’s graduate board

 shared that they would be creating a “bicker committee,” in order “to preserve the customs we

 hold dear while making the events safer, less demeaning and more fun for everyone.” Id.

          161.   Notably, this committee was created three years after the Working Group on

 Campus Social and Residential Life had urged Princeton to “significantly increase its

 commitment to enforce policies that prohibit serious forms of hazing;” specifically, the

 “dangerous drinking and other dangerous, demeaning and dehumanizing behaviors.”

 9
   A second officer was also forced to resign for a separate email containing denigrating remarks
 about Sally Frank, the Princeton alumnus who sued for gender equality at the eating clubs.

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          162.     The graduate board also promised to follow up on other recommendations,

 including “creating a safe process for members to report incidents or concerns.” Krystal Knapp,

 Princeton Eating Club Ousts Two Officers in Wake of Email Scandal, Planet Princeton (Dec. 1,

 2014).

          163.     Some members of TI expressed frustration that sexual assault was not taken

 seriously at TI, noting that “the beer tap gets turned off for a period as punishment when

 furniture is broken, but not when the club’s . . . members are demeaned and humiliated.” Id.

 They also repeated a concern that TI had allegedly promised to address nearly a decade prior: TI

 members fear retribution if they report. Id.

          164.     Despite the TI graduate board’s proclaimed intent to “create[e] a safe process for

 members to report incidents or concerns,” when it was discovered that a TI member had leaked

 Hap Cooper’s initial email to a media outlet, a TI officer sent out a club-wide email that read,

 “it’s mole hunting season.” Id.

          165.     On information and belief, yet another officer was also relieved of her position in

 2014—making her the seventh officer ousted in one year—this time, for putting another member

 in a headlock until that member passed out, fell to the floor, and was injured. As with much of

 the misconduct at TI, the club handled the matter internally.         Anna Wolcke, Behind Closed

 Doors: How Princeton’s Administration Is Turning a Blind Eye to Serious Safety Issues in Its

 Secret Bar District, Nassau Weekly (Feb. 17, 2019).

          166.     On information and belief, the culpable student was not subjected to discipline by

 the University.

          167.     In December 2014—nearly six weeks after the sex act email was first sent out—

 Princeton told reporters it was still investigating the matter. Id.



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        168.    Presumably, Princeton has access to its students’ University email accounts, and it

 is unclear how or why such an investigation would take over a month with no resolution. To

 date, it is unknown whether Princeton imposed any discipline on the members involved with the

 taking and distribution of the photo.

        169.    With TI’s governing body and Princeton University repeatedly failing to enforce

 safety policies at TI, over 100 TI alumni wrote an open letter in December 2014 decrying the

 club’s poor behavior and unsafe culture:

                In light of the incidents this year — and in light of the fact that one
                set of officers was forced out, only to be replaced by another set of
                officers who exhibited even worse judgment — we believe that the
                prevailing culture of the club does not appear to live up to the
                standards of either the club or the university. Rather than hoping
                to address this through the least amount of punishment, the
                Graduate Board would do better to start from the other direction
                and consider whether the club should continue operating at the
                present time and, if so, what conditions the club and its members
                should be required to meet. . . .

                If members of the Tiger Inn and its Graduate Board take swift and
                strong action to demonstrate that any kind of bias, harassment,
                exploitation, or assault will not be tolerated, perhaps the current
                club culture can be reshaped into something worthy of the unique
                privilege Princeton University students enjoy. Such actions will
                not erase the shameful events that have occurred recently at Tiger
                Inn, but anything less is not worthy of the Tiger Inn or of Princeton
                University.

        170.    Addressing the emails that sparked this most recent controversy at TI, Hap

 Cooper displayed his genuine feelings about the deplorable actions: “each was meant as a joke.”

 Raymond Ollwerther, Trouble at Tiger Inn, Princeton Alumni Weekly (Jan. 7, 2015).

        171.    This attitude that sexual assault and gender-based degradation are “jokes” to TI’s

 very governing body is emblematic of the TI philosophy and its failure to genuinely address such

 issues with its membership over the years. As the TI alumni posited, it seems instead that TI’s

 leadership is more focused on insulating its members from having to take responsibility for their

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 actions.

        172.      In the end, however, Cooper did acknowledge the problems associated with

 treating such incidents as jokes: they “have the effect of communicating that anything goes at

 TI,” creating “a slippery slope that can lead to real tragedy.” Id.

        173.      In the midst of the scandal surrounding the controversial emails, TI was also

 under investigation for unrelated incidents of alleged sexual assault – this time, by the very

 people TI hired to keep members safe.          See Grant Golub, Princeton Police Investigated

 Allegations Against Tiger Inn Bouncers, Records Show, Daily Princetonian (Jan. 4, 2015).

        174.      According to police records, an investigation was launched into TI’s bouncers

 regarding both (i) their possible involvement in taking the photo of the freshman on the dance

 floor, and (ii) general allegations of ongoing sexual harassment and assault on TI members,

 including groping members as they walked in the door. Id.

        175.      While the results of the report are unknown, the police investigation did disclose

 that half of TI’s hired safety personnel had criminal records – including charges of battery,

 distributing narcotics, and felony aggravated assault. Id. It is unknown what sort of vetting

 process TI conducted on these safety officers, nor what actions TI took when this information

 was disclosed.

        176.      In response to this investigation, TI’s graduate board expressed concern for the

 “indication of a desensitized sexual and alcohol related culture among the student members;”

 however, there are no reports that TI fired any of these bouncers.

        177.      In September 2016, The Daily Princetonian published an article discussing steps

 that some of the eating clubs were taking towards preventing sexual harassment and assault.

 Such steps included having members sign or recite a “consent pledge,” and conducting training



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 through Princeton’s SHARE (Sexual Harassment/Assault Advising, Resources and Education)

 office. While several clubs engaging in these activities were mentioned by name, there was no

 report of any action by TI to improve member safety.

        178.    Princeton’s SHARE director, Jacqueline Deitch-Stackhouse, stated that SHARE

 worked closely with the eating clubs and the Inter Club Council (ICC) on providing training and

 information, and creating a “best practices” checklist for the clubs. However, the Inter Club

 Council did not require eating clubs to abide by the best practices checklist.

        179.    In December 2017, Princeton assembled a new Task Force on the Relationship

 Between the University and the Eating Clubs, since it had been nearly seven years since the

 initial Task Force had set forth its recommendations.

        180.    On information and belief, no further Task Force meetings had taken place to

 assess compliance or progress after the issuance of the May 2011 report. Thus, one of the key

 purposes of the new Task Force was to “[r]eview[] the outcomes that stemmed from the

 recommendations of the 2009-2010 task force to determine if particular recommendations

 require further attention and/or different responses.”          The task Force also intended to

 “[i]dentify[] how the eating clubs might help to achieve the University’s long-term goals for the

 undergraduate experience, especially as they relate to dining, co-curricular activities and creating

 community.”

        181.    The Task Force was comprised of a mix of eating club officers, non-member

 students, Graduate Inter Club Council (GICC) members, and Princeton staff. The chair of the

 task force was W. Rochelle Calhoun, Princeton’s Vice President for Campus Life.

        182.    Around the same time the Task Force was being reassembled, Tiger Inn found

 itself in trouble yet again for safety violations, resulting in another round of officer resignations.



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        183.    On or about December 8, 2017, TI held its sophomore semi-formal party. On

 information and belief, by virtue of this being a sophomore event, most attendees were under

 twenty-one years old.

        184.    Although TI yet again managed to keep the details the of event under wraps, it

 was reported that “a lack of appropriate levels of security . . . led to an unsafe environment at the

 club: excessive levels of alcohol, vomiting, and physicality.” Benjamin Ball, Tiger Inn President

 to Step Down, Daily Princetonian (Dec. 20, 2017). It is unclear whether “physicality” referred to

 altercations or sexual assault.

        185.    As a result of this most recent dangerous party at TI, the officers again escaped

 any real punishment for their continuous endangerment of underage students. On information

 and belief, the only punitive measure imposed on TI by its graduate board was the forced

 resignation of its president and “safety czar.” Id. On information and belief, the club remained

 “on tap.”

        186.    It is unknown whether Princeton took any action against TI’s officers for, once

 again, providing alcohol to underage students and creating an unsafe environment.

        187.    As it had done so many times in the past, TI’s leadership again promised to

 “look[] to the future” and “emphasize[] the importance of making safety . . . [an] integral part[]

 of their club culture.” Id.

        188.    On information and belief, the safety issue created at the December party was due

 in part to the fact that one of the TI members “on safety”—meaning, a designated sober member

 to monitor the club for safety—became so intoxicated that they had to be brought to the

 infirmary. See Anna Wolcke, Behind Closed Doors: How Princeton’s Administration Is Turning

 a Blind Eye to Serious Safety Issues in Its Secret Bar District, Nassau Weekly (Feb. 17, 2019).



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        189.    On information and belief, because of the consistent safety issues at TI, TI nearly

 lost its insurance coverage, as only one carrier was even willing to offer coverage, and even then,

 insisted on numerous addendums and high premiums.

            B. Plaintiff’s TI Initiation.

        190.    Just three months later, under the auspices of a new TI president and “safety

 czar,” Plaintiff was subjected to much of the same mistreatment that had permeated TI culture,

 virtually unpunished, for decades.

        191.    Specifically, TI officers and/or senior members:

            a. Expressly told Plaintiff that cameras and other recording devices were banned

                from initiations;

            b. Told Plaintiff to do whatever the senior members told him to do, and to go along

                with it even if it gets “weird;”

            c. Provided Plaintiff, who was under the legal drinking age, with alcohol;

            d. Handed Plaintiff cup after cup of beer and directed him to “chug,” resulting in

                Plaintiff’s consumption of approximately seven beers in two hours;

            e. Directed Plaintiff to take off his clothes;

            f. Poured beer over Plaintiff;

            g. Flashed their naked genitals at Plaintiff;

            h. Directed Plaintiff to strip down further and run around TI, outside, in February;

                and

            i. Slapped Plaintiff repeatedly on the back, hard.

        192.    After these initiations, while he was heavily intoxicated, Plaintiff was then




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 approached on the TI dance floor by a senior member of TI.10 The member attempted to dance

 with Plaintiff, but he denied the advance. Later, when Plaintiff was alone on the dance floor, she

 approached him again, confirmed that he was a sophomore (in other words, an initiate), and

 kissed him on the mouth.

        193.    This senior TI member then directed Plaintiff to gather his things and meet her to

 leave TI. She then walked Plaintiff to her dorm room.

        194.    During this walk, the older and physically larger TI member proceeded to tell

 Plaintiff numerous personal details that she knew about his life, background, and interests.

 Apparently, she learned this information through the bicker process. As far as Plaintiff could

 recall, Plaintiff had never spoken with her before.

        195.    The TI member then led Plaintiff to her private dorm room, where she admittedly

 proceeded to initiate sexual activity.

        196.    Plaintiff reported all of this to Princeton’s Title IX office.

        197.    In response to the blatant evidence of hazing and sexual harassment, Princeton did

 what it always does when faced with misconduct at the eating clubs—absolutely nothing.

        198.    On information and belief, Princeton did not reach out to TI’s officers or other

 members present at initiations to investigate Plaintiff’s report.

        199.    Less than three weeks after the hazing and harassment suffered by Plaintiff at his

 TI initiation, the Inter-Club Council farcically issued a welcome letter to new and old eating club

 members that “highlighted the ICC’s rules on sexual misconduct and harassment, possession of

 alcohol brought in from outside the club, and hazing,” “stating that any form of hazing or

 harmful initiation ritual associated with a club is strictly prohibited,” reminding students that

 10
    Roe was a junior at Princeton at the time of the alleged incident. The phrase “senior member”
 refers to established members of TI who were either juniors or seniors.

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 underage drinking is not allowed, and encouraging members to “work to ensure that their club

 ‘maintains an atmosphere free of any pressures on other members, guests and employees relating

 to sexual misconduct.’” See Claire Thornton, ICC Releases ‘Welcome Letter’ to New and Old

 Eating Club Members, Daily Princetonian (Feb. 27, 2018).

        200.    This painfully oblivious letter is proof positive that when it comes to ensuring

 student safety and preventing abuses, the eating clubs are great at talking points, but not at actual

 implementation. In fact, on information and belief, during the Ivy Club initiations that happened

 the same week as Plaintiff’s TI initiations, a new initiate to the club became extremely

 intoxicated, fell down the stairs, and ended up in the hospital. On information and belief, this

 incident was not investigated by Princeton.

        201.    Likewise, as it had done for decades, Princeton refused to hold the older TI

 members in Plaintiff’s case accountable. To the contrary, Princeton found Plaintiff responsible

 for sexual assault because the TI member claimed that once she had led the drunken, younger

 Plaintiff into her room, he allegedly tried to engage in oral sex and digital penetration that she

 did not want, although she did consent to the intercourse.

        202.    As part of Princeton’s eventual findings against Plaintiff, Princeton informed

 Plaintiff that “being under the influence of alcohol is not a mitigating factor in considering the

 seriousness of your actions.” Princeton refused to acknowledge in any way that the reason

 Plaintiff was highly intoxicated was because TI had not only provided Plaintiff with alcohol but

 directed him to drink excessive amounts in a short period of time.

        203.    Because of Plaintiff’s gender, Princeton refused to see Plaintiff as the victim of

 sexual harassment and assault, and instead concluded that he must have assaulted Jane Roe,

 despite any evidence other than Roe’s own claims.



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            C. Princeton Continues to Ignore Misconduct at the Eating Clubs.

        204.     In November 2018, the newly formed Task Force on the Relationship Between

 the University and the Eating Clubs issued its formal report.

        205.     The report began by solidifying the intertwined, interdependent nature of the

 University and the Eating Clubs:

                 Vision

                 Princeton University and the eating clubs, working together, strive
                 to provide all undergraduates with experiences that contribute to a
                 campus social life that is vibrant, accessible and inclusive; help to
                 create a sense of connectedness, belonging and community; and
                 enhance the overall Princeton experience.

                 Guiding Principles

                 While independent from each other, the University and the eating
                 club leadership (graduate and undergraduate) will continue to
                 nurture an interdependent relationship that is ongoing, cohesive,
                 reciprocal, transparent and candid.

                 Regular communication and the sharing of information between
                 the University and the eating clubs will increase trust and
                 opportunities for creating more vibrant experiences for
                 undergraduate students.

                 Report at 3.

        206.     The Report set forth the Task Force’s “health, well-being, and safety” goals,

 including to:

                 Continue, enhance, and potentially expand existing programs
                 through SHARE and other offices to provide training for eating
                 club officers and members, as part of a larger effort to address
                 concerns about sexual misconduct, alcohol abuse, safety, and
                 health and wellbeing, including expanded programming on mental
                 health. Continue to improve alcohol and safety policies at the
                 eating clubs . . . . Expand the engagement of peer leaders (e.g.,
                 peer health advisors, SHARE peers, etc.) in and with the eating
                 clubs to foster an environment that is healthy and safe. . . .
                 Continue the strong relationship and communication among the
                 University, students in the eating clubs, and the graduate boards of


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                 the eating clubs, including regular University interaction with the
                 Interclub Council and the Graduate Interclub Council.

                 Report at 4-5.

         207.    The Task Force also evaluated the progress made since the previous Task Force’s

 recommendations seven years prior. According to the new Task Force, the recommendation of

 “consider[ing] additional steps to address high-risk drinking” was “done (ongoing).” Report

 at 7.

         208.    According to the new Task Force, the recommendation of strengthening “the Best

 Practices handbook sections on alcohol usage and safety policy” was also “done (ongoing).”

 Report at 8.

         209.    On information and belief, the “best practices” handbook is still not mandatory,

 and clubs may adopt or reject those practices as they so choose.

         210.    Despite the new Task Force’s extremely light touch in asking virtually nothing

 from the eating clubs in terms of concrete plans to ensure safety, the eating club governance

 balked at the issuance of the report. See Oliver Efron, ICC Criticized Eating Club Task Force

 Report, Daily Princetonian (Nov. 27, 2018):

                 Eating club presidents . . . push[ed] back against a recently
                 released task force report, . . . . Reassembled in 2017, the task
                 force proposed a series of measures to correct perceived flaws
                 within the eating club system, focusing on diversity, health, and
                 accessibility. Some current eating club presidents, however,
                 criticized the task force’s lack of transparency, an absence of
                 concrete implementation plans for the report’s recommendations,
                 and a general failure to acknowledge progress that the clubs have
                 already made.

         211.    In response, one of the Task Force members acknowledged something that had

 been evident at Princeton for decades: “Sometimes programs in place on paper are not executed

 fully in practice.” Id.


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        212.   For example, despite TI’s purportedly strict safety measures, such as hiring

 bouncers and appointing “safety monitors,” it ended up hiring bouncers with criminal records

 who themselves were allegedly harassing TI members, and the so-called sober monitors were

 apparently unable to refrain from becoming intoxicated to the verge of alcohol poisoning.

        213.   Further, as the Task Force member explained, “There can be a disconnect about

 actually bringing the [SHARE] liaisons to the club. The program exists, but there is a separation

 between the plan and implementation.” Id.

        214.   In other words, despite prioritizing safety and training on paper, the clubs—and

 Princeton—have failed to sufficiently implement their highly touted safety measures.

        215.   In February 2019, Nassau Weekly published a lengthy article addressing the

 history of misconduct at the eating clubs, and Princeton’s deliberate, intentional refusal to

 address these long-standing and well-known issues. Anna Wolcke, Behind Closed Doors: How

 Princeton’s Administration Is Turning a Blind Eye to Serious Safety Issues in Its Secret Bar

 District, Nassau Weekly (Feb. 17, 2019)

        216.   As the article aptly explains,

               Here [at Princeton], a remarkable amount of drinking happens in
               secret, behind the doors of an insular network of clubs that are far
               wilder than regular bars. Inside these eating clubs, students who
               are under the legal drinking age regularly do things that would
               never be allowed in traditional bars. Some have gotten so drunk
               they had to be hospitalized for alcohol poisoning. Others have
               slipped on beer-soaked dance floors and broken their legs. Still
               others have become so out of control that they have gotten into
               fights with police officers and bouncers. None of the risky
               behavior leads to serious consequences for the clubs or the
               University. In fact, the University is benefitting from the silence
               surrounding the eating clubs. . . .

               Id.

        217.   The author interviewed dozens of students, club members, and Princeton staff,


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 and “reviewed hundreds of pages of police records and news articles and found a number of

 troubling statistics:”

                 •       In the past five years, police have been called to the clubs
                 more than 200 times, for incidents ranging from alcohol poisoning
                 to assault.

                 •       Serious injuries are commonplace. Since 2013, there have
                 been 11 reported cases in which a student, a bouncer, or a police
                 officer got hurt in a fight. One student had his pinky amputated
                 when his hand got caught in a club’s fire escape as he was trying to
                 leave the club in an unconventional way.

                 •        The clubs are the scene of bizarre and violent hazing
                 rituals. In one club, new club members had to undress to their
                 underwear and were showered with ketchup and mustard. In
                 another, students were slapped on their backs until they bled.

                 •      What happens in the clubs often stays in the clubs. The
                 cycle of risky behavior is perpetuated by a strict code of secrecy.
                 Members who do talk risk being ostracized.

                 •       Incidents are documented in public records, but the
                 University does not regularly make checks of them, preferring
                 instead to look the other way.

                 Id. (emphasis added).

         218.    As per usual, Princeton trotted out its classic line when faced with serous

 misconduct at the clubs: “Princeton administrators stress that the clubs are not part of the

 University and maintain that they do not regulate what happens in them.” Id.

         219.    As the article noted,

                 [D]espite the overlap between the University and eating clubs, the
                 University has maintained for years that the two have nothing to do
                 with one another. Administrators have pointed to the separation
                 every time a major drinking-related accident occurs. And it has
                 occurred a lot. For the past 50 years, the clubs have been hubs of
                 bad drinking and bad behavior. In 1987, The Associated Press
                 wrote a story about the staggeringly high number of sixteen
                 Princeton students who were admitted to the infirmary with
                 alcohol intoxication and alcohol-related injuries after initiations at
                 several eating cubs. In 1988, two club officers at Charter Club


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                   were arrested and ultimately sentenced to 30 days in jail each for
                   having served alcohol at an event that caused 39 students to require
                   treatment at the University infirmary. Six were taken to a local
                   hospital and one of those six remained in a coma for 24 hours. The
                   University defended the students, calling the sentence
                   “disproportionate and excessive.” . . . Through it all, the University
                   administration has been hands-off. Vice-President for Campus Life
                   Calhoun stated: “We don’t really regulate what they’re doing in the
                   clubs.”

                   Id.

          220.     At the same time, however, Princeton acknowledged that the clubs are not truly

 separate institutions: “The clubs are independent of the University but interdependent,” said

 W. Rochelle Calhoun, the Vice-President for Campus Life of the University as well as the chair

 of the University’s Eating Club task force. She “acknowledged . . . that the clubs are relying

 more and more on University resources . . . .” Id.

          221.     Indeed, a former president of one of the eating clubs told the reporter, “Even

 though eating clubs are technically private institutions, disassociated with the University, they

 are practically on campus and are even interspersed with buildings where some students take

 classes . . . .” Id.

          222.     The article also touched on the extreme pressure the clubs placed on their

 members not to report misconduct:

                   Students binge-drink at many universities. But Princeton is unique
                   in that it is largely kept secret, maintaining the University’s good
                   reputation while exposing students to extra risks. In an email,
                   University spokesperson Michael Hotchkiss said that “The
                   University’s Department of Public Safety (PSafe) maintains a
                   strong working relationship with the Princeton Police Department
                   that includes open communication about any serious incidents at
                   the clubs.” What Hotchkiss didn’t say is that many clubs ask their
                   members not to call the police. Even in cases of severe
                   intoxication or injury, they are supposed to call club officers for
                   help first, which means that most incidents never get reported to
                   the police. “During our first sophomore dinner, the club president


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                told us that if anything were to happen, find a club officer first and
                help can be better sought than by just dialing 911,” said a member
                of Cap and Gown Club who doesn’t want to be identified for fear
                of being kicked out. This response is indicative of a system in
                which students fear social exclusion if a club finds out that a
                member has talked with non-members about what’s going on
                inside the club. “We get sanctioned if we talk with non-members
                about what happens in the club,” he said.

                Id. (emphasis added).

        223.    The article addressed the dangerous initiation rituals at some clubs, including a

 description that almost exactly matched what Plaintiff had reported to Princeton a year before the

 article was published:

                the new men were asked to finish a keg and then to undress.
                Without warning, older club members slapped new members on
                their backs. One student was slapped so hard, his back started
                bleeding. “It was basically physical abuse,” said a student who
                asked not to be identified for fear of losing his membership.

                Id.

        224.    The article highlighted that Princeton’s refusal to appropriately manage the clubs

 results in constant injuries and an ongoing danger to the students:

                Princeton administrators have been careful to keep their distance
                from incidents like these while reaping benefits from what the
                clubs provide—an outlet for student stress that allows for hard
                drinking but does not harm the University’s reputation. [One]
                [s]ophomore . . . badly sprained her ankle on a night out at Cloister
                Inn in September 2017. For the following weeks, she was forced
                to rent an expensive scooter in order to get to her classes. The
                University never followed up with her after the incident or offered
                assistance, and [she] learned that she isn’t the only one who was
                hurt at Cloister Inn. “The amount of people who have told me they
                had the same experience at Cloister was insane,” [she] said.
                “People have been complaining about the mosh pit for years.” But
                the University took no action. Without close supervision, club
                leaders are left on their own to make questionable decisions. They
                have hired bouncers who have allegedly assaulted and harassed
                students. . . . At Cap and Gown Club, [a] security employee . . .
                threatened to “cut up” two non-members who tried to seek shelter
                from the cold in 2016, according to police records. . . . There are

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                other signs that club leaders are not capable of keeping their fellow
                students safe. Tiger Inn has a few members “on safety” on nights
                when the club is open to all students. Members on safety are
                supposed to stay sober and help other students. But instead some
                chug beers and become more drunk than the students they are
                supposed to keep an eye on.

                Id.

        225.    The article also shows that, despite the latest Task Force Report, and all of the

 other talk of prioritizing safety, nothing really changes:

                This year, due to the heavy drinking during frosh-week, the first
                week before the new academic year begins, all eating clubs were
                closed to first-years after the first night. According to a Daily
                Princetonian article, 28 students were brought either to the local
                hospital or to the University health center during the weekend of
                frosh-week. Yet there are suspiciously few police reports
                pertaining to this weekend.

                Id.

        226.    For decades, Princeton has relied on a technical separation between the eating

 clubs and the University in order to relieve itself from liability or any obligation to genuinely

 address the rampant misconduct that is well known, well documented, and apparently, even

 reported to the school directly.

        227.    While Princeton excuses itself from responsibility for bad behavior at the clubs,

 it proudly touts the clubs to prospective students, and benefits from the clubs’ provision of

 social events directly and exclusively for Princeton students. In exchange, Princeton provides

 resources to enable as many students as possible to join the clubs and/or attend their parties.

        228.    Princeton’s ongoing, intentional, deliberate refusal to adequately address hazing

 and sexual harassment at the eating clubs, and specifically at TI, of which it was well-aware,

 resulted in the harassment and assault Plaintiff suffered at TI, by TI members and/or officers.

        229.    Moreover, even after Plaintiff reported the harassment and assault, Princeton


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 refused to genuinely investigate or hold his assailant(s) responsible.

 III.   PRINCETON PROSECUTES PLAINTIFF.

            A. Plaintiff and Jane Roe.

        230.    Plaintiff matriculated to Princeton in Fall of 2016 with an expected graduation

 date of June 2020.

        231.    Before    attending   Princeton,    Plaintiff   excelled   academically,   receiving

 distinctions as AP scholar, an Honor Roll student for many years, and a member of the National

 Honor Society.

        232.    Plaintiff also gave back to the community as a member of a community service

 group and a volunteer teacher at his local community center.

        233.    Plaintiff was drawn to Princeton because it is one of the top-ranked schools in

 the nation and is known for the professional networking opportunities it provides to students.

        234.    As an aspiring young entrepreneur who has already played a major role at a

 start-up social networking company, Plaintiff was particularly drawn to the professional

 benefits that a Princeton alumni network would bring.

        235.    In that regard, once at Princeton, Plaintiff sought to join an eating club in part

 for the social benefits, but also for the alumni and networking opportunities it would create for

 him moving forward.

        236.    Plaintiff elected to apply to Tiger Inn as it is one of the oldest and most selective

 clubs at Princeton.

        237.    On information and belief, Jane Roe matriculated to Princeton in Fall of 2014

 with an expected graduation date of June 2018.

        238.    Jane Roe was an athlete and a marathon runner, who stood several inches taller



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 than Plaintiff.

         239.      Jane Roe was a member of the Tiger Inn and a junior when Plaintiff was a

 sophomore.

         240.      On information and belief, as a senior TI member, Jane Roe participated in the

 planning and execution of TI’s initiations in February 2018.

         241.      On information and belief, Jane Roe knew that Plaintiff, and other bickerees,

 were under the legal drinking age, and that bickerees would be ingesting a considerable amount

 of alcohol at initiations, which TI would provide.

         242.      On information and belief, Jane Roe first took notice of Plaintiff during the

 bicker process, well before his initiation.

         243.      Although Plaintiff had never spoken directly with Jane Roe, she discovered

 considerable personal information about him by virtue of the bicker process. On information

 and belief, Jane Roe voted to accept Plaintiff into TI and even spoke on his behalf during the

 voting period.


                   B. Plaintiff’s TI Initiation.

         244.      On or about February 3, 2018, Plaintiff applied to TI. The next day, the bicker

 process started and the sophomores who wanted to join had to go through a series of interviews

 and activities.

         245.      For example, bickerees were asked questions such as who they thought was the

 hottest girl or guy in the club. Bickerees were also required to tell a story of their craziest night

 out, the most dangerous thing they had ever done, and who they would choose to kick out the

 club. In addition, bickerees were asked to complete tasks such as asking out a fellow bickeree.

         246.      On February 9, 2018, Plaintiff was notified that he had been accepted as a new


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 member of the TI. Initiation would be the next evening.

         247.   On February 10, 2018, the new TI members were told in an email from the club

 president that they should absolutely not be late. They were also told that no phones or video

 cameras were allowed during initiations.

         248.   In a text message sent to TI initiates, they were expressly informed that “Alc and

 chasers will be provided.”

         249.   Traditionally, a “chaser” is consumed after a shot of hard alcohol.

         250.   Once the initiates arrived at TI for the official initiations, upperclassman told the

 new members to do whatever the upperclassmen said, and just go along with what was going

 on even if it gets “weird.”

         251.   TI members and/or officers provided the initiates, who were almost all

 underage—including Plaintiff—with alcohol.

         252.   The themes of the night were: (i) competitive alcohol consumption; (ii) go along

 with whatever happens; (iii) embrace anything strange; and (iv) do what upperclassmen say.

         253.   The initiates were told to strip to their underwear, or more if comfortable. Most

 men, including Plaintiff, were only in boxers. Some men were fully naked. Several men wore

 boxers but flashed their genitals at the others.

         254.   Plaintiff was repeatedly handed cups of beer by older TI members and told to

 chug.    Plaintiff consumed approximately seven beers in two hours, and became very

 intoxicated.

         255.   Older TI members also threw beer on Plaintiff, slapped him hard on the back,

 and told him to run a “naked lap” around the building. It was a drizzly February evening.

 Plaintiff complied.



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        256.    Plaintiff complied with everything the TI upperclassmen said, as he was

 instructed. Plaintiff did not want to be kicked out of the club or looked upon as not a team

 player—especially as he planned to eat virtually all his meals and center his social life at the

 club for the next two years. The pressure to conform was immense and overwhelming.

        257.    Since Plaintiff did not have family close by, and one of his parents lived in

 Liberia, he ached for a close-knit pseudo-family close to or at Princeton. He was desperate to

 appease the club members in order to remain in their good graces.

        258.    After being initiated, all TI members – male and female – then joined in the

 basement for a dance party, still in their underwear.

        259.    Close to midnight, Plaintiff was in a circle of people dancing. Jane Roe was a

 part of the dance circle, and she attempted to reach out to Plaintiff by pointing at him to come

 to her. Plaintiff ignored the advance.

        260.    About ten minutes later, Plaintiff was standing alone, and Jane Roe approached

 him. She asked Plaintiff if he was a new sophomore in the club, which was a strange question

 considering Jane Roe voted for him and would later reveal that she knew numerous personal

 details about him.

        261.    Plaintiff confirmed that he was a sophomore. Jane Roe then leaned in and kissed

 Plaintiff on the lips. She did not ask for consent or give any advance indication that she was

 going to kiss him.

        262.    Plaintiff felt uncomfortable, but after hours of initiations and in his considerably

 intoxicated state, felt that he had to go along with anything any of the upperclassmen wanted to

 do.

        263.    Jane Roe told Plaintiff to go grab his pants and put them on, and meet back up in



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 the basement. Plaintiff complied.

        264.    When they met back up, Jane Roe asked Plaintiff to leave the club with her.

        265.    Plaintiff was extremely uncomfortable that a person he didn’t know would ask

 him to go back to her room within minutes of meeting him.

        266.    However, given that it was initiations, and Jane Roe was a junior, and Jane Roe

 was older and physically bigger than Plaintiff, and new members were told to accept all

 requests and commands from senior members, and go along with any “weird” activity, and

 Plaintiff had been plied with alcohol, Plaintiff did as Roe asked.

        267.    Once they left the club, Roe led Plaintiff, by the hand, to her dorm room.

 Plaintiff had no idea where Roe lived and was simply following Roe.

        268.    During the walk, Jane Roe stated: “It’s crazy how we know everything about

 you guys, but you guys know nothing about us.” She then proceeded to tell Plaintiff numerous

 details about his background, life, and interests, including his favorite sports team. She also

 told him that she was one of the members who voted him into TI. Plaintiff felt even more

 pressure not to upset or offend Roe.

        269.    Plaintiff was uncomfortable with Roe’s focused interest in him, out of the nearly

 two hundred bicker applicants, as well as her implication that he owed his admission to her.

        270.    From the beginning, Plaintiff felt very pressured to say yes to Jane Roe, because if

 he said no it was clear she could make life difficult for him with respect to the club. Plaintiff

 also did not want it to seem as though he did not fit in with the club culture. He feared the club

 members could reject him, claiming he did not complete initiations.

        271.    On the walk, Roe said she was cold, as she had forgotten her coat. Plaintiff gave

 Roe his jacket and walked in just his shirt in the cold February rain.



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        272.    Finally, Roe and Plaintiff arrived at her dorm. She led Plaintiff upstairs, and they

 entered her room, which was a large single bedroom.

        273.    In Roe’s room, the two began to kiss, and eventually moved to the bed, with Roe

 on top of Plaintiff. Roe began undressing, so Plaintiff followed suit.

        274.    Roe then—without any prior discussion or permission—pulled down Plaintiff’s

 underwear and began performing oral sex on him. She then told Plaintiff that she wanted to

 have intercourse and retrieved a condom for Plaintiff to put on.

        275.    Plaintiff did not want to have sex with Roe. He was drunk, freaked out, and did

 not know her. But, at that point he felt there was no way out of the situation without offending

 Roe and thus endangering his position at TI.

        276.    Plaintiff then had sexual intercourse with Roe. During the intercourse, he was

 not touching her body. Rather, he kept his hands planted on the bed. At some point, Jane Roe

 told him to hurry up and climax inside of her.

        277.    After they finished having sex, Jane Roe attempted to cuddle with Plaintiff, but

 he was physically uncomfortable and separated himself from her. Jane Roe asked Plaintiff

 whether he wanted to spend the night, to which he responded, “maybe.”

        278.    Jane Roe then initiated intercourse a second time. However, Plaintiff was not

 fully aroused, so they stopped.

        279.    Plaintiff then digitally penetrated Jane Roe. Jane Roe moaned and moved her

 body in ways indicating pleasure, and subsequently climaxed.

        280.    Shortly afterwards, the parties engaged in intercourse again. Jane Roe gave

 Plaintiff directions, and placed his hands on her body.

        281.    Plaintiff could not orgasm, so he asked Jane Roe to perform oral sex on him.



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 She said no, and he did not press any further.

          282.   Jane Roe again asked Plaintiff to stay the night, indicating they could have sex

 again in the morning. Plaintiff declined, and returned back to his dorm.

          283.   The night of initiations was the first time Plaintiff had met or encountered Jane

 Roe, a senior Tiger Inn member. Through Jane Roe’s actions on the TI dance floor and her

 subsequent disclosures about the details of Plaintiff’s life, it was clear she was interested in him

 and had targeted him specifically.

          284.   After Jane Roe told Plaintiff how much she knew about him and how she helped

 get him into the club, the last thing Plaintiff wanted to do was upset her, so he did everything

 she asked of him, including engaging in sexual activity with her when he otherwise would have

 declined.

          285.   After initiation night, the next time Plaintiff saw Jane Roe was on February 14,

 2018, at Tiger Inn. They did not speak to each other.

                 C. The Title IX Process Begins.

          286.   On February 20, 2018, Plaintiff received an email from Princeton’s Title IX

 coordinator, Regan Crotty, notifying Plaintiff that allegations of sexual misconduct were made

 against him and that Vice Provost Michele Minter had appointed a panel of three investigators

 (including Crotty herself, Joyce Chen Shueh, and Edward White) to review the matter.

          287.   In accordance with Princeton’s Policy, the Title IX coordinator and the other

 two panelists would serve as the investigators as well as the ultimate adjudicators of Plaintiff’s

 guilt.

          288.   The allegations in the email were vague, and simply stated: “Unfortunately,

 allegations have been made with my office that on the night of Saturday, February 10, you

 allegedly engaged in non-consensual sexual penetration and non-consensual sexual contact with

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 another student [J.A.]11 in a dormitory room.”

         289.   After receiving Crotty’s email, Plaintiff was confused and asked to speak with

 Crotty in person in order to discuss what the allegations were about. She refused to discuss the

 substance of the allegations, but said Plaintiff could submit something in writing.

         290.   Wanting to address the allegations as quickly as possible, Plaintiff then drafted a

 brief, bullet-point style summary of his interactions with Jane Roe on the night of his

 initiations.

         291.   Plaintiff was in a three-hour lab when he received Crotty’s email and rushed to

 provide some sort of narrative of the night just to “give a reference of the situation” prior to his

 formal interview.    Plaintiff was shocked and scared and simply wanted to give a quick

 overview of what happened, because he could not believe the allegations against him.

         292.   Although Plaintiff is bright and academically successful, English is not his first

 language and as a result, he occasionally has trouble expressing himself precisely.

         293.   Princeton’s Title IX panel would subsequently utilize Plaintiff’s off-the-cuff,

 rough draft outline of his recollection of events, as well as his troubles with English, to discredit

 Plaintiff in any way possible and to draw all conceivable inferences against him, for example,

 by concluding that his story had discrepancies when, in reality, they were small semantic

 differences.

         294.   Mere minutes after Plaintiff received Crotty’s email, Plaintiff was notified by the

 Tiger Inn president that he was banned from the club and not allowed on club premises.

         295.   On or about February 26, 2018, prior to his initial interview, Plaintiff reviewed a

 list of lawyers provided by Princeton to students seeking potential representation. According to

 11
   The notice included two initials to represent the complainant’s name, but they did not match
 Jane Roe’s initials.

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 Plaintiff’s inquiries, none of the recommended lawyers could guide him through his Title IX

 process.

        296.     Having not grown up in the United States, and with his parents living far away,

 with one still in Liberia, Plaintiff did not have any other contacts or a support system necessary

 to guide him through the challenging and confusing process of a Title IX investigation and

 adjudication.

        297.     Moreover, the advisor provided by Princeton did nothing to protect Plaintiff’s

 rights or substantively assist him, instead encouraging him to submit numerous written

 statements, knowing that his words could be prone to misinterpretation or confusion.

        298.     Through the Title IX process, Plaintiff would eventually learn Roe’s specific

 allegations against him. According to Roe, she and Plaintiff engaged in consensual sexual

 intercourse when they first arrived at her room. Roe claimed that no oral sex took place first –

 the parties went straight from kissing to vaginal penetration. Roe claimed that after they had

 sex, Plaintiff asked if they could fool around more, and she said no. She stated that Plaintiff

 then asked for a blow job and she said no. She stated that Plaintiff then kneeled on the bed with

 his penis in her face. Roe stated that “the next thing [she] knew,” Plaintiff’s penis was in her

 mouth for about three seconds until she shifted her head away. Roe did not state that Plaintiff

 grabbed her head or physically forced his penis into her mouth. Roe stated that Plaintiff then

 asked if they could have sex again. Roe stated she did not respond yes or no. Roe stated that

 Plaintiff then stood up, retrieved a condom, put it on, situated Roe’s body in a sexual position,

 and engaged in intercourse. Roe did not say “no” or move away from Plaintiff during this time,

 but told the panel it was nonconsensual. Roe stated that this round of intercourse stopped after

 a bit, and she did not know whether Plaintiff ejaculated. Roe stated that afterwards, they were



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 both on the bed, and Plaintiff began to digitally penetrate her vagina. Again, Roe did not move

 away, tell Plaintiff to stop, or say no. According to Roe, she told Plaintiff, as his fingers were

 inside her, “you are welcome to stay or leave, but nothing is happening.” Roe stated there was

 no intercourse after the digital penetration. Plaintiff left shortly thereafter.

          299.   Needless to say, Roe and Plaintiff’s recollections of the evening, including

 everything from the timeline to the alleged sex acts and the order of events, were considerably

 disparate.

          300.   There was no objective evidence presented to the panel to substantiate Roe’s

 claims over Plaintiff’s. Thus, the case hinged on credibility.

              D. Complaints and Collusion.
          301.   Shortly after Jane Roe initiated her Title IX complaint, she was contacted by

 fellow Princeton student, Mary Smith.12

          302.   Mary Smith and Plaintiff had been involved in an intimate relationship the

 previous year; the relationship ended after Plaintiff discovered that Smith had a boyfriend at

 another school while she had been dating Plaintiff.

          303.   After Smith and Plaintiff ended their relationship, Plaintiff spoke to several of

 Smith’s other lovers/love interests, to tell them that Smith had a boyfriend and had been

 cheating on him.

          304.   Needless to say, Smith did not appreciate Plaintiff’s statements, and contact

 between the two became sporadic and unpleasant.

          305.   Group messages between Smith and at least ten of her friends at the time

 indicate that Smith told numerous people Plaintiff was spreading rumors about her. Her friends

 responded, “let’s bully him” and suggested waiting outside his room to confront and harass

 12
      Mary Smith is a pseudonym.

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 him.

          306.   When Smith heard that Roe was initiating a Title IX case against Plaintiff, she

 offered to help bolster Roe’s case. Plainly, Smith saw Roe’s case as an opportunity for revenge

 against Plaintiff.

          307.   Screenshots of the text messages between Roe and Smith were provided to

 Princeton’s Title IX office, which later provided carefully redacted versions to Plaintiff.

          308.   In the messages, Smith told Roe “I wanted you to know I had a horrible

 experience with [Plaintiff] last year and . . . I’m here for any kind of support you need/want.

 He’s a horrible person and I’m so glad something is being done.”

          309.   Jane Roe responded, “Hey. I wanted to tell you the same thing in person. . . . I

 wanted to reach out to you personally before Title 9 [sic] reaches out to you. They look at ‘his

 past’ . . . ”

          310.   In the version of the messages provided to Plaintiff, Roe’s sentence is then cut

 off at the bottom of the screen after the words “his past.” The next page picks up somewhere

 later in the conversation.

          311.   Roe’s message, and Princeton’s careful redaction, indicate that Princeton’s Title

 IX office may have offered to consider inappropriate evidence, and then sought to hide their

 misconduct by redacting that portion of the conversation from what was provided to Plaintiff.

          312.   On the second page of messages provided to Plaintiff, Smith said again to Roe,

 “I will support you in any way I can.” Roe responded, “should I give you as a witness then?”

          313.   Notably, Princeton’s Title IX policy prohibits both consideration of past sexual

 history and character witnesses. Yet, this is precisely what Roe and Smith were conspiring to

 present in order to make sure Plaintiff was found responsible.



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        314.    Plaintiff was only provided two, nonconsecutive pages of messages between

 Roe and Smith, even though it is clear from the context that Roe and Smith continued to discuss

 Plaintiff and Roe’s Title IX case beyond what was provided to Plaintiff.

        315.    Curiously, Princeton’s Title IX investigation reports and final outcomes in both

 cases make no mention of the communication between Roe and Smith. In other words, despite

 blatant evidence of witness tampering and collusion, Princeton’s Title IX panel failed to punish

 either Roe or Smith, and failed to account for such behavior in its ultimate credibility findings

 and determination.

            E. Princeton’s Biased, Partial Investigations.

        316.    At Plaintiff’s initial interview with the Title IX panel, he explained everything

 about the evening in question—initiations, his intoxication level, the coercive atmosphere, and

 his hesitance to upset Roe for fear of being kicked out of TI. Plaintiff expressly told the Panel

 he felt as if leaving TI with Roe was an obligation of initiations.

        317.    The Panel asked Plaintiff for his intoxication level on a scale of one to ten,

 where zero is sober and ten is passed out from alcohol. Plaintiff told the Panel he was a seven

 on intoxication, indicating pretty serious intoxication. Princeton’s Title IX panel would later

 state in their final report that Plaintiff’s reported intoxication level was a “six,” even though

 their own initial, written records properly had him reporting at a seven.     Princeton’s “typo”

 thus coincidentally made it seem as if Plaintiff was more sober than he actually was.

        318.    Plaintiff also told the Panel he was a nine on the intimidation scale, particularly

 after Roe had revealed that she knew considerable personal information about Plaintiff.

        319.    All of these factors were common elements of TI initiations, of which Princeton

 was undoubtedly aware for many, many years. However, Princeton failed to take any action



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 whatsoever with respect to TI or investigating their patent hazing of initiates, including

 Plaintiff.

          320.   On information and belief, Princeton’s Title IX panel did not refer the matter to

 any other Princeton office, nor reach out to any TI officer or TI’s Graduate Board to inquire as

 to the recent initiations.

          321.   On information and belief, Princeton simply ignored Plaintiff’s report that TI

 had provided excessive alcohol to underage students, in addition to other impermissible hazing

 and sexual misconduct.

          322.   A few days after his initial interview, on March 4, 2018, Plaintiff filed a formal

 cross-complaint against Roe for sexual assault, for sexual intercourse and oral sex without

 consent, by virtue of coercion/intimidation and Plaintiff’s intoxication.13

          323.   The response from Princeton’s Title IX coordinator indicated the flippant nature

 of Princeton’s response to allegations of abuse by a male student against a female student:

 “Thank you for letting me know. I will be back in touch later this week with an update on

 timing.” There was no referral to victim’s services, such as Princeton’s SHARE office.

          324.   Although Princeton’s Title IX office superficially conducted a counter-

 investigation against Roe, it was clear that the Panel doubted Plaintiff’s allegations from the

 start.

          325.   Throughout the process, Plaintiff was treated as the guilty party and

 interrogated, rather then being treated as a potential victim and given a trauma-informed

 interview, like Roe was. His words were twisted and taken out of context, with Princeton



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    Plaintiff reported that the initial oral sex and intercourse were nonconsensual and coerced, but
 that over the course of the evening he became more comfortable and subsequently engaged in
 consensual intercourse.

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 exploiting his difficulties with certain linguistic nuances, rather than accommodating them. He

 was provided with a procedural advisor, but not a sexual assault advocate. Princeton’s Title IX

 panel went to great lengths to record Roe’s claimed emotional impact from the alleged incident,

 devoting over a page of their interview report to it, while pettily addressing Plaintiff’s with a

 single sentence: “This situation has caused him stress.”

           326.   Despite Plaintiff reporting a high intoxication level and indicating that his

 condition contributed to his following Roe’s directives, and that he was not in the right

 condition to consent, Princeton’s Title IX panel stated that Plaintiff did not claim lack of

 capacity.

           327.   By virtue of the Panel’s questions and demeanor, and Princeton’s treatment of

 Plaintiff throughout the Title IX process, it became clear to Plaintiff that the Panel simply did

 not believe that he, as a black male student, could be the victim of a sexual assault.

           328.   Just a few days after Plaintiff filed his cross-complaint, Mary Smith filed her

 own Title IX complaint against Plaintiff, alleging sexual assault and intimate partner violence

 on the last night they slept together in 2017.

           329.   On information and belief, Smith had never made such allegations about

 Plaintiff to anyone in the year since they broke up, up until Plaintiff filed his counterclaim

 against Roe.

           330.   In response to Smith’s complaint, Princeton assigned the very same panel that

 was handling Roe’s claims—Crotty, Shueh, and White—to investigate and adjudicate Smith’s

 claims.

           331.   The existence of simultaneous cases against Plaintiff, being heard and decided

 by the same panel, greatly prejudiced Plaintiff in that it had the clear capacity to affect the



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 Panel’s ability to view each case on its own merits. Plainly, if the Panel found Plaintiff non-

 credible on some issue in one case, that perception would (or at least had the clear capacity to)

 carry over into the other case.

        332.    Princeton’s pursuit of simultaneous cases against Plaintiff by the same panel

 precluded Plaintiff from receiving a fair, unbiased, unprejudiced determination on the merits of

 each case individually.

        333.    For example, in the course of the Smith investigation, the Panel found that

 Plaintiff was not credible with respect to a certain element of the case. This is precisely the sort

 of cross-contamination that unfairly tainted Plaintiff’s disciplinary proceedings, as it is unlikely

 the Panel would have been able to ignore its credibility determination on one case while

 evaluating the other.

            F. The Outcome.

        334.     On May 11, 2018, Princeton’s Title IX panel simultaneously issued its findings

 in the Roe case and the Smith case.

        335.    With respect to Smith, Plaintiff was found not responsible for any violation.

        336.    Notably, the Title IX panel’s interview notes indicated several areas where they

 felt Plaintiff was untruthful or untrustworthy.        However, Plaintiff was able to produce

 considerable objective evidence rebutting Smith’s claims, giving the panel no option but to find

 him not responsible.

        337.    Specifically, Plaintiff was able to produce a text message from Smith after their

 last night together—the night of the alleged violent assault—wherein Smith thanked Plaintiff

 for a wonderful evening and specifically stated that the intercourse was “so sweet.”

        338.    Plaintiff   also   produced   text     message   records   indicating   Smith    had



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 redacted/manipulated text records that she had submitted to the Panel, including deleting a

 message she sent Plaintiff after they broke up, saying “I miss you.”

        339.    The Panel’s interview notes from Smith’s case indicate that were it not for the

 concrete records proving that Smith’s claims were entirely fabricated, Princeton’s Title IX

 Panel may have found Plaintiff responsible by virtue of their credibility assessments.

        340.    Thus, even though Plaintiff was found not responsible in Smith’s case, the fact

 that the same Panel was assigned to both cases resulted in a credibility assessment that

 inherently biased the Panel against Plaintiff in the Roe case.

        341.    Moreover, despite patent evidence that Smith fabricated her entire case (likely in

 order to bolster Roe’s claims against Plaintiff), and submitted doctored evidence in order to

 support her false claims, Princeton’s Title IX panel did not pursue any disciplinary action

 against Smith, nor against Roe, nor did the Panel even acknowledge the misconduct in its final

 reports or credibility assessments.

        342.    With respect to Roe’s case, the Title IX Panel found Plaintiff responsible for

 non-consensual sexual penetration (the “Decision”). Specifically, the Panel found Plaintiff

 responsible for non-consensually placing his penis into Jane Roe’s mouth and digitally

 penetrating her vagina. The Panel found Plaintiff not responsible for the alleged non-consensual

 intercourse with Jane Roe.

        343.    The Panel found Jane Roe not responsible for both charges, concluding that

 “there was insufficient evidence to support the charges.”

        344.    Because Plaintiff and Roe had given considerably different versions of the

 events in Roe’s room, and because there was no objective evidence as to what occurred in the

 room, the entire case rested on credibility.



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         345.   The Title IX Panel’s doubts as to Plaintiff’s credibility in the Smith case thus

 inherently, improperly, and prejudicially biased their evaluation of Plaintiff’s credibility in the

 Roe case, depriving him of a fair and impartial adjudication.

         346.   Moreover, despite concrete evidence of collusion and manipulation between Roe

 and Smith, Princeton refused to find Roe less credible.

         347.   The Title IX Panel’s final report in Roe’s case perfectly encapsulated

 Princeton’s response to claims of misconduct at the eating clubs for decades: it completely

 ignored it.

         348.   Indeed, despite the highly relevant nature of the lead-up to Plaintiff’s

 interactions with Roe, the Title IX Panel’s final report began the fact summary as follows:

 “[Roe] and [Plaintiff] met on the dance floor following Tiger Inn initiations.”

         349.   The entire report then focused on the parties’ competing claims about what

 happened in Roe’s bedroom. There was little to no acknowledgment of the hazing and coercion

 Plaintiff suffered in the hours leading up to their encounter.

         350.   Instead, the Title IX Panel stated in a footnote that although Plaintiff told the

 Panel several times that he felt pressured to submit to Roe’s advance by virtue of the initiations,

 the Panel discounted these repeated claims because, on one occasion, Plaintiff admitted he was

 not expressly told by TI that “hooking up” would be part of initiations. The Panel thus

 concluded Plaintiff’s claims of coercion were inconsistent and not credible.

         351.   Shockingly, the Panel also reasoned that Plaintiff’s claim of nonconsensual

 intercourse was less credible because the intercourse ended when he had an orgasm.

         352.   As a result of the findings in Roe’s case, Plaintiff was suspended from Princeton

 for two years, beginning May 27, 2018 (the “Sanction”).



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         353.   On May 17, 2018, Plaintiff appealed the Decision in the Jane Roe case.

         354.   On June 26, 2018, Princeton summarily denied Plaintiff’s appeal and upheld the

 Decision and Sanction.

         355.   Rather than substantively addressing the claims in Plaintiff’s appeal, Princeton

 utilized a copy-and-paste form letter giving a general explanation that the Title IX investigative

 panel reviewed all evidence and made credibility determinations as it saw fit.

         356.   Princeton’s use of such a form letter indicates the appeals process is nothing but

 a rubber-stamp, to give the impression of a fair process when in reality, Princeton as a matter of

 pattern, routine, and practice, does not overturn the decisions of its Title IX panel, specifically

 with respect to finding male students and faculty responsible for violations.

         357.   Plaintiff has exhausted all avenues for appeal under Princeton’s relevant

 policies. This lawsuit represents his only hope to right the wrongs occasioned by TI and

 Princeton’s misconduct.

 IV.     AGREEMENTS, REPRESENTATIONS, COVENANTS AND WARRANTIES
         BETWEEN PLAINTIFF AND DEFENDANT PRINCETON.

         358.   Upon Plaintiff’s matriculation into Princeton, Plaintiff and Princeton became

 mutually bound by the Princeton University “Rules, Rights, Responsibilities” document (RRR),

 which contains Princeton’s various policies on student conduct, discipline, and students’ rights

 and responsibilities. The RRR also contains Princeton’s Sexual Discrimination and Sexual

 Misconduct Policy (“the Policy”), which is the applicable policy for Princeton’s Title IX

 procedures.

         359.   On information and belief, the RRR is updated and/or reissued each new school

 year.

         360.   On information and belief, the RRR and/or the various policies contained therein,


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 are available online on the Princeton University website.

         361.    The RRR constitutes and represents a contract between students and the

 University and, in particular, between Plaintiff John Doe and Defendant Princeton University.

         362.    As with all contracts, the RRR inherently includes a covenant of good faith and

 fair dealing by the parties to the contract.

         363.    According to the Policy, “Princeton University does not tolerate sex or gender

 discrimination, including sexual misconduct such as sexual harassment and sexual assault.”

 RRR § 1.3.

         364.    The Policy “governs the conduct of: University students, regardless of enrollment

 status . . . and third parties (i.e., non-members of the University community, such as vendors,

 alumni/ae, visitors, or local residents)” and “applies to conduct that occurs on University

 property (i.e., on campus) and in the local vicinity.” RRR § 1.3.2 (emphasis added).

         365.    In that regard, “[a]ll actions by a member of the University community that

 involve the use of the University’s computing and network resources from a remote location,

 including but not limited to accessing email accounts, will be deemed to have occurred on

 campus.” RRR § 1.33.2.

             a. In the instant case, communications about TI initiations were sent via University

                 email, and, on information and belief, utilizing the University’s network.

         366.    The Policy applies to off-campus conduct that “may pose a safety risk on campus,

 have a continuing adverse effect or could create a hostile environment on campus.”

 RRR § 1.3.2.

         367.    The Policy definition of Sexual Harassment includes “[u]nwelcome or

 inappropriate conduct that does not fall under other forms of sexual misconduct, but that is



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 sexual and/or gender-based in nature. Examples may include public sex acts or flashing.”

 RRR § 1.3.3(2) (emphasis added).

        368.   The Policy defines “consent” as:

               voluntary, informed, un-coerced agreement through words and
               actions freely given, which a reasonable person would interpret as
               a willingness to participate in mutually agreed-upon sexual acts.
               Consensual sexual activity happens when each partner willingly
               and affirmatively chooses to participate. Indications that consent is
               not present include: . . . when duress is present; . . . and when a
               person is incapable of making an intentional decision to participate
               in a sexual act, which could include instances in which the person
               is in a state of incapacitation.

               RRR § 1.3.3(4) (emphasis added).

        369.   In the context of the Policy,

               incapacitation is the state in which a person’s perception or
               judgment is so impaired that the person lacks the cognitive
               capacity to make or act on conscious decisions. The use of drugs or
               alcohol can cause incapacitation. An individual who is
               incapacitated is unable to consent to a sexual activity. Engaging in
               sexual activity with an individual who is incapacitated (and
               therefore unable to consent), where a person knows or ought
               reasonably to have understood that the individual is incapacitated,
               constitutes sexual misconduct.

               RRR § 1.3.3(4).

        370.   The Policy states that Princeton “has an obligation to make reasonable efforts to

 investigate and address complaints or reports of sex or gender discrimination, including sexual

 misconduct, whenever it becomes aware of such a complaint or report.” RRR § 1.3.

            a. Princeton violated the Policy because it refused to investigate Plaintiff’s claims

               of sexual harassment at TI.

            b. Princeton violated the covenant of good faith by refusing to investigate

               Plaintiff’s claims despite Princeton’s knowledge of a history of sexual

               misconduct and harassment at TI, particularly associated with initiation hazing

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                and underage students.

        371.    In determining whether certain conduct violates the Policy, “the University will

 consider the totality of the facts and circumstances involved in the incident, including the nature

 of the alleged conduct and the context in which it occurred.” RRR § 1.3.2 (emphasis added).

            a. Princeton violated the Policy by failing and deliberately refusing to acknowledge

                the context in which Plaintiff and Jane Roe’s sexual interactions occurred;

                specifically, by failing to appropriately acknowledge and consider the effects of

                the severe hazing Plaintiff was subjected to in the hours immediately preceding

                their interactions.

            b. Princeton violated the Policy by failing to acknowledge the highly competitive,

                coercive, and insular context of TI initiations, including the pressure to conform,

                comply, and do whatever the senior members say.

            c. Princeton violated the Policy by failing and deliberately refusing to acknowledge

                the context of Plaintiff’s intoxication level at the time he met Roe, and

                specifically, the fact that Plaintiff, who was underage, was provided alcohol by TI

                upperclassmen and coerced into excessive drinking via drinking games and

                initiation rituals, a.k.a., hazing.

        372.    The Policy “includes investigation and disciplinary procedures that will be

 followed in response to allegations of sex or gender discrimination, including sexual misconduct

 such as sexual harassment and sexual assault.” RRR § 1.3.

            a. Princeton violated the Policy by failing to follow the proper procedures, as

                explained further below.

        373.    According to the Policy, “[i]f the Title IX Coordinator determines that [a]



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 complaint or report would, if substantiated, constitute a violation of this policy, the Title IX

 Coordinator will . . . initiate an investigation.” RRR § 1.3.10(2).

            a. Princeton violated this policy because Plaintiff reported actions by TI members

                that would, if substantiated, constitute violations of the Policy, yet the Title IX

                coordinator failed to initiate an investigation.

        374.    Pursuant to the Policy, “[u]pon receipt of a complaint or report of a violation of

 this policy, the University will provide reasonable and appropriate interim measures designed to

 preserve the complainant’s educational experience.”         RRR § 1.3.9.   Such interim measures

 include “Rescheduling of exams and assignments” and “Change in class schedule.” Id.

            a. Princeton violated the Policy by failing to appropriately accommodate Plaintiff’s

                academic schedule, even though he was a formal complainant against Jane Roe.

                Specifically, Princeton refused to permit Plaintiff to reschedule a final exam.

        375.    Pursuant to the Policy, “[t]he Title IX Coordinator will seek to complete the

 investigation and any resulting disciplinary process and provide notice of the outcome within 60

 calendar days after receipt of the complaint or report,” and the University “will notify the parties

 in writing of any extension of the timeframes for good cause, and the reason for the extension.”

 RRR § 1.3.10(3).

            a. Princeton violated the Policy because, on information and belief, the Title IX

                office received the complaint or report at least as early as February 20, 2018,

                when Ms. Crotty informed Plaintiff of Jane Roe’s allegations. However, the

                Finding was not issued until May 11, 2018—eighty days later—and Plaintiff was

                never informed in writing of the reason for extension.

            b. Notably, the Panel’s final report issued with the Finding carefully avoided setting



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                forth the date the complaint was first received, and, in fact, Plaintiff was never

                provided a copy of the initial complaint or statement.

            c. On information and belief, Princeton routinely fails to complete its Title IX

                investigations within the designated timeframe and routinely fails to provide

                notice or just cause for such delays.

        376.    According to the Policy, “[t]he University will seek to complete any appeal within

 20 calendar days after receipt of the appeal.” RRR § 1.3.10(3).

            a. Princeton violated the Policy because Plaintiff submitted his appeal on May 17,

                2018 and did not receive a decision until June 26, 2018—forty days later, double

                the time allotted for in the Policy.

        377.    According to the Policy, “When the Title IX Coordinator receives a complaint or

 report alleging that a student violated this policy, the Title IX Coordinator will appoint a three-

 person investigative panel of administrators and/or outside investigators. . . . All panelists will

 have training in investigating and evaluating conduct prohibited under the policy. The panelists

 will also be impartial and unbiased.” RRR § 1.3.12(1).

            a. Princeton violated the Policy because, on information and belief, the Panelists

                were improperly and inadequately trained, and were partial and biased.

            b. The Panelists were partial and biased by virtue of their involvement in unrelated,

                simultaneous investigations of allegations against Plaintiff.          In particular,

                Complainant Smith alleged violent and dangerous behavior by Plaintiff, which,

                although eventually revealed as fabricated, undoubtedly tainted the Panelists’

                view of Plaintiff during the crucial early stages of both investigations.

            c. The Panelists were poorly trained as evidenced by their conclusion that Plaintiff’s



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              orgasm during intercourse was evidence of his consent, underscoring a lack of

              knowledge regarding basic understandings of sexual assault.

           d. The Panelists were biased against Plaintiff as the male accused, and in favor of

              Roe as the female complainant, as evidenced by the Panel’s intentional twisting of

              Plaintiff’s words and its refusal to acknowledge patent credibility issues and

              misconduct by Roe, including her collusion with Smith to fabricate the second

              case, as well as Crotty’s lackluster response to Plaintiff’s complaint against Roe,

              and the Panel’s heavy emphasis on the emotional toll on Roe, while all but

              ignoring the impact of the events on Plaintiff.

           e. Moreover, because the Panelists served as both the investigators and the

              adjudicators, they were undoubtedly biased by certain irrelevant and inadmissible

              evidence discovered during the investigatory phase.          The whole point of

              excluding irrelevant statements from the final report is to prevent the adjudicators

              from being impacted by improper evidence.            If the investigators and the

              adjudicators are one and the same, it is obvious that such statements have a

              dangerous and undeniable capacity to bias the Panel in the adjudicative phase.

       378.   The Policy states, “the panel will interview witnesses as necessary.”

 RRR § 1.3.12(1).

           a. Princeton violated the Policy by failing to interview witnesses who were present

              during initiations and could have shed light on Plaintiff’s state of mind and

              intoxication level, as well as the general atmosphere.

           b. Princeton violated the Policy by failing to interview witnesses such as the TI

              members designated to control the beer taps on the evening in question.



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            c. Princeton violated the Policy by failing to interview other TI bickerees, whose

                identities Princeton could have easily discovered, to inquire as to the harassment

                reported by Plaintiff.

            d. Princeton violated the Policy by failing to interview the students with whom

                Plaintiff and Jane Roe were dancing just prior to their kiss on the dance floor.

            e. Princeton violated the Policy by failing to interview the TI bouncers and “safety”

                members whom Plaintiff reported seeing as he exited the club with Jane Roe.

            f. Yet, the Panel was more than happy to interview multiple witnesses who had no

                contemporaneous personal knowledge of the relevant events, whose testimony

                consisted entirely of hearsay from Roe, and who in fact gave conflicting stories of

                Jane Roe’s claims, but were nonetheless interpreted as supporting her story.

        379.    According to the Policy, “[t]he panel will prepare a case file of all interview

 summaries, witness statements, and other documents.            The file, redacted of personally

 identifiable information as necessary, will be shared with the complainant and the respondent.”

 Further, each party will have the option to respond to the investigative file. RRR § 1.3.12(1).

            a. The Policy, in and of itself, precludes Plaintiff from receiving a fair and impartial

                investigation and from being able to adequately respond to the investigation, as

                Princeton withheld the names and identifying information of the interviewed

                witnesses from Plaintiff. Plainly, Plaintiff cannot adequately respond to witness

                statements if he is not told who the witnesses are.

            b. Making matters worse, on information and belief, Jane Roe knew the identity of

                all the interviewed witnesses. In that regard, Princeton denied Plaintiff relevant

                information that Roe had access to, constituting unequal treatment and bad faith.



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        380.    According to the Policy, the Title IX Panel will “conduct an inquiry and

 determine, by a preponderance of the evidence” whether the Policy was violated. (Section

 1.3.12).

            a. Princeton violated the Policy because it failed to conduct a genuine inquiry,

                particularly into the lead-up to the sexual activity between Plaintiff and Jane Roe,

                wherein Plaintiff was hazed and essentially forced to become intoxicated by TI

                members.

            b. Princeton violated the Policy because the Findings were not supported by a

                preponderance of the evidence.

            c. Princeton violated the Policy by ignoring—and worse, intentionally withholding

                from Plaintiff—evidence of patent collusion between the complainants, casting

                serious doubt on Roe’s credibility.

            d. Princeton violated the Policy by relying on sex and gender stereotypes and a poor

                understanding of sexual assault, rather than the objective facts of the case. For

                example, when Plaintiff stated that he was extremely uncomfortable with Roe’s

                advances, the Panel pressed Plaintiff on whether he was actually just

                uncomfortable with a female initiating sexual activity.

        381.    According to the Policy, “[p]enalties will be determined based on the seriousness

 of the misconduct as compared to like cases in the past, and the student's previous disciplinary

 history (if any).” RRR § 1.3.12.(2).

            a. Princeton violated the Policy because it failed to take into account Plaintiff’s

                clean disciplinary record.

        382.    According to the Policy, all members of the Appeal Panel “will have training



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 regarding Title IX and prohibited conduct defined under this policy” and “will be impartial and

 unbiased.”

              a. Princeton violated the Policy because the use of generic, form language in the

                 appeal denial, which, on information and belief, is routinely provided, verbatim,

                 in response to male students’ appeals, indicates the Appeal Panel is a rubber

                 stamp process designed to protect the University’s decisions, rather than a

                 genuine, unbiased review.

        383.     In addition to violations of the sexual misconduct policy, Princeton violated

 numerous other provisions of the RRR with respect to Plaintiff.

        384.     RRR § 2.2.11, “Conduct at Prospect Avenue Clubs,” provides:

                 Standards of behavior by University students in the independent
                 Prospect Avenue clubs are to conform with established standards
                 in the University as a whole. In particular, club members are to act
                 with considerate regard for the rights, privileges, and sensibilities
                 of others. . . . Physical violence, intimidation of others, or
                 offensive and disorderly behavior will not be tolerated in any club
                 ....

        385.     Princeton violated this policy by failing to address Plaintiff’s complaint that he

 was repeatedly slapped on the back, hard, by senior members of TI as part of his initiations, in

 addition to being told to chug excessive amounts of alcohol in a short period of time, directed to

 strip, and had beer thrown on him.

        386.     RRR § 1.6.2, “Alcoholic Beverages,” provides:

                 Members of the Princeton University community are expected to
                 be acquainted with and to abide by both state and University
                 regulations regarding the consumption of alcohol. . . . The
                 University alcoholic beverage policy is designed to be consistent
                 with the laws of the State of New Jersey, which, in general,
                 prohibit the consumption and serving of alcoholic beverages by
                 and to persons under 21 years of age.

        387.     RRR § 1.4.3 provides that “[v]iolations of federal, state, or local laws by members

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 of the University community . . . may trigger University disciplinary action regardless of where

 such violations occur, particularly if they are of a serious nature and clearly violate University

 standards of conduct.”

         388.    RRR § 2.2.9, “When are Princeton University students in violation of the alcohol

 policy?”, makes clear that:

                 [o]n campus and in the local vicinity, students are in violation of
                 the University alcohol policy under any or all of the following
                 circumstances:

                 a. When participating in or organizing an activity that encourages
                 excessive drinking (e.g., drinking games, pre-gaming with hard
                 alcohol, initiation activities, hazing), as these acts can endanger the
                 individual being served. These are especially serious violations.

                 b. When the serving or consumption of alcohol contributes to
                 behavior that (i) intimidates or harasses others; (ii) injures or
                 threatens to injure others (e.g., driving under the influence of
                 alcohol, assault); (iii) leads to the destruction of property; or (iv)
                 infringes on the peace and privacy of others. These are especially
                 serious violations.

                 c. Violations of local ordinances or state laws by students may also
                 be grounds for University disciplinary action, regardless of where
                 such violations occur, if they clearly violate University standards
                 of conduct.

         389.    Princeton violated its obligations under the alcohol and off-campus misconduct

 policies by failing to enforce such policies against TI despite clear, reliable reporting by Plaintiff

 of numerous violations, including the provision of alcohol to underage students, and the

 initiation/hazing activities.

         390.    Shockingly, Jane Roe admitted to participating in the provision of alcohol to

 underage bickerees at TI initiations, but was not subject to any discipline whatsoever for such

 violations, despite Princeton’s apparent consideration of such behavior as an “especially serious

 offense.”


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        391.    RRR § 2.2.7, “Hazing,” states:

                Any student shall have the right to be free of all activities which
                might constitute hazing, while attempting to become a member of,
                or maintain membership in, a fraternity, sorority, athletic team,
                student organization, eating club, or other organization.
                Organizations, their members, and their prospective members are
                prohibited from engaging in or encouraging others to engage in
                activities that are defined as hazing.

                Hazing encompasses a broad range of behaviors that

                        a) may place another person in danger of bodily injury, or

                        b) that demonstrates indifference or disregard for another
                        person's dignity or well-being.

                Examples of hazing include but are not limited to the following:

                       ingestion of alcohol, food, drugs, or any undesirable
                        substance.

                       participation in sexual rituals or assaults.

                       emotionally or psychologically abusive or demeaning
                        behavior.

                       acts that could result in physical, psychological, or
                        emotional deprivation or harm.

                       physical abuse, e.g., whipping, paddling, beating, tattooing,
                        branding, and exposure to the elements, or the threat of
                        such behaviors.

                       participation in illegal activities or activities prohibited by
                        University policy.

        392.    Princeton violated this policy by knowingly and deliberately failing to protect

 Princeton students, including Plaintiff, from hazing by TI.

        393.    Princeton violated this policy because despite Plaintiff’s express reporting of

 numerous activities that patently constitute hazing under the policy, Princeton refused to take any

 action whatsoever to investigate or hold TI members, including Jane Roe, accountable.

        394.    Crucially, the RRR provides that “[w]here an activity amounts to hazing, a

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 person’s consent to the activity is not a defense.”

        395.    RRR § 2.2.6, “University Ban on the Nude Olympics,” is a particularly

 enlightening policy section, in that Princeton blatantly acknowledges a history of dangerous and

 alcohol-fueled activities. That section of the RRR explains:

                For a number of years undergraduates, predominantly members of
                the sophomore class, gathered as a group in Holder Courtyard on
                the night of the first snowfall, virtually naked, and in an
                environment that included student alcohol abuse, underage
                drinking, lack of concern for the welfare of fellow students, and
                risk of harm to themselves, to other people, and to property. This
                gathering came to be known as the "Nude Olympics."

                In the spring of 1999, the president of the University and the Board
                of Trustees accepted the recommendation of the Committee on the
                Nude Olympics that this activity be banned, effective immediately,
                because of the severe health and safety risks posed by the event.
                The undergraduate student body is advised that they may not
                attempt to organize or engage in any activity that is perceived to
                perpetuate gatherings or events that contain or encourage some or
                all of the behaviors that have been associated with past Nude
                Olympics. These prohibitions apply to the campus, as well as to
                public and private property in the surrounding communities.

                Any undergraduate engaging in activity that, in the judgment of the
                dean of undergraduate students or a designee, could reasonably
                appear to others to perpetuate gatherings or events that contain or
                encourage such behaviors is subject to suspension from the
                University for a period of at least one year.

        396.    Princeton violated this policy because Plaintiff explained that the new TI initiates

 were told to strip naked and run a lap around the TI building, in February. This is precisely the

 kind of behavior that “could reasonably appear to others to perpetuate” or “encourage some or all

 of the behaviors that have been associated with past Nude Olympics.”               Yet, once again,

 Princeton refused to conduct any genuine investigation into this initiation ritual at TI.

  V.    PLAINTIFF’S DAMAGES.

        397.    As a direct and proximate result of TI’s failure to properly implement safety


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 regulations and to uphold its own code of conduct and applicable laws, Plaintiff was hazed and

 subjected to physical abuse, sexual harassment, humiliation, and sexual assault.

         398.   As a direct and proximate result of Princeton’s biased, unlawful, and improper

 conduct, an erroneous finding that Plaintiff engaged in Non-Consensual Sexual Penetration has

 been made part of Plaintiff’s records, and his undergraduate degree has been delayed by two

 years as a result of the suspension.

         399.   As a direct and proximate result of Princeton’s biased, unlawful, and improper

 conduct, Plaintiff was not treated equally to a similarly situated female student, Jane Roe, and as

 a result, Plaintiff’s assailant has faced no consequences for her actions.

         400.   As a direct and proximate result of Princeton’s biased, unlawful, and improper

 conduct, Plaintiff was subjected to sexual harassment and a hostile environment by virtue of TI

 initiations, which Princeton has known about for many, many years and deliberately refused to

 address.

         401.   As a result of Princeton’s deliberate indifference, Plaintiff’s harassment by other

 Princeton students went unaddressed and unpunished.

         402.   On information and belief, the two-year suspension is noted on Plaintiff’s

 transcript.

         403.   Plaintiff’s records may be released to educational institutions and employers to

 whom Plaintiff applies, substantially limiting his ability to gain acceptance to graduate school, or

 to secure future employment.

         404.   By improperly delaying Plaintiff’s degree and placing a permanent notation on his

 college transcript, Princeton has damaged Plaintiff’s future education and career prospects.

 Specifically, as a result of Princeton’s actions, Plaintiff will be forced to disclose and explain to



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 potential employers and any graduate school to which he may opt to apply that he was

 disciplined by Princeton for sexual misconduct.

         405.    In the wake of the powerful #metoo movement, schools and employers will not be

 clamoring to hire or admit someone who has been found responsible for sexual assault. And,

 even if Plaintiff’s potential graduate school or employer sees his severely belated degree and

 does not ask about it, they will likely presume that Plaintiff failed to meet all of the academic

 requirements for a timely graduation, again placing him at a severe disadvantage.

         406.    Due to Princeton’s biased, unlawful, and improper conduct, Plaintiff was treated

 as a perpetrator and presumed guilty from the start.

         407.    Due to Princeton’s biased, unlawful, and improper conduct, Plaintiff has been

 falsely labeled as a perpetrator of sexual assault.

         408.    Due to Princeton’s biased, unlawful, and improper conduct, Plaintiff’s academic

 file is now marred by a false and baseless finding of sexual misconduct, and the Sanction is listed

 on Plaintiff’s transcript.

         409.    Due to Princeton’s biased, unlawful, and improper conduct, Plaintiff has

 suffered and will continue to suffer ridicule, reputational damage, physical harm, mental

 anguish, emotional harm, economic loses, and damage to his future educational and career

 prospects.




                              AS AND FOR A FIRST CAUSE OF ACTION
    Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. -
                                     Erroneous Outcome
                                     (Against Princeton)

         410.    Plaintiff John Doe repeats and re-alleges each and every allegation above as if



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 fully set forth herein.

         411.    Title IX of the Education Amendments of 1972 provides, in relevant part: “No

 person in the United States shall, on the basis of sex, be excluded from participation in, be

 denied the benefits of, or be subjected to discrimination under any education program or activity

 receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

         412.    Title IX of the Education Amendments of 1972 applies to all public and private

 educational institutions that receive federal funding, including Defendant Princeton University.

         413.    On information and belief, Princeton receives federal funding, including in the

 form of federal student loans given to students, and is subject to the provisions of Title IX.

         414.    Title IX is enforceable through a private right of action.

         415.    Both the Department of Education and the Department of Justice have

 promulgated regulations under Title IX that require a school to “adopt and publish grievance

 procedures providing for the prompt and equitable resolution of student…complaints alleging

 any action which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. §

 106.8(b) (2018); 28 C.F.R. § 54.135(b) (2018).

         416.    The “prompt and equitable” procedures that a school must implement include, at

 a minimum: “[n]otice . . . of the procedure, including where complaints may be filed;

 [a]pplication of the procedure to complaints alleging harassment; . . . [a]dequate, reliable, and

 impartial investigation of complaints, including the opportunity to present witnesses and other

 evidence; . . . [and] [d]esignated and reasonably prompt timeframes for the major stages of the

 complaint process.” Dep’t of Ed., Office for Civ. Rights, Revised Sexual Harassment Guidance:

 Harassment of Students by School Employees, Other Students, or Third Parties -- Title IX (Jan.

 19, 2001), at 20.



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        417.   According to the 2001 Guidance, the procedures adopted by a school covered by

 Title IX must accord “due process to both parties involved.” Id. at 22.

        418.   According to the 2001 Guidance, schools are obligated under Title IX to make

 sure that all employees involved in the conduct of the procedures have “adequate training as to

 what conduct constitutes sexual harassment, which includes ‘alleged sexual assaults.’” Id. at

 21.

        419.   To succeed on an erroneous outcome claim under Title IX, a plaintiff must

 demonstrate: (1) a flawed proceeding, which led to an erroneous outcome; and (2) gender was a

 motivating factor behind the erroneous outcome.

        420.   An erroneous outcome occurred in this case because Plaintiff was subjected to a

 blatantly flawed proceeding and erroneously found to be responsible for violating Princeton’s

 sexual misconduct Policy, and gender was a motivating factor behind this erroneous outcome.

        421.   The proceedings were flawed and caused an erroneous outcome because, by way

 of example and not limitation:

            a. From the start, the investigation was slanted in favor of the Jane Roe. Roe’s story

               was deemed credible from the beginning and given more weight in the final

               analysis and determination of what occurred that night.         Princeton ignored

               blatant, material evidence of collusion between Roe and Smith when evaluating

               Roe’s credibility;

            b. Princeton failed to conduct a thorough investigation, in that the Panel declined to

               interview material witnesses from TI initiations and the start of Roe and

               Plaintiff’s interactions, choosing instead to rely on witnesses who had no

               personal knowledge and were simply repeating Roe’s inconsistent narrative;



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         c. Princeton failed to conduct a thorough investigation, in that it did not even

            request copies of the surveillance footage from TI, which Princeton knew or had

            reason to know existed, based on prior publicized issues at TI that referenced

            surveillance video inside the club;

         d. Princeton improperly assigned the same Panel to investigate unrelated claims

            against Plaintiff, causing material prejudice and bias;

         e. Princeton’s improper assignment of both cases to the same Panel caused

            improper and unacceptable cross-contamination—indeed, the Panel’s report in

            the Smith case referred to Plaintiff as “Cross-Complainant”, which he was in the

            Roe case, not the Smith case. Further, the Panel’s investigation report in the Roe

            case referred to an interview with a “Student 12.” On information and belief,

            Student 12 was a witness in the Smith case, not the Roe case. This blatant

            evidence of confusion and cross-contamination between the investigations

            precluded Plaintiff from receiving an unbiased, impartial process;

         f. The Panel deliberately twisted Plaintiff’s words and exploited his difficulties

            with English in order to damage his credibility and bolster Roe’s claims;

         g. The Panel actively discouraged Plaintiff’s narrative against Roe, asking him

            repeatedly whether he truly believed that sleeping with Roe was related to his TI

            membership (which he repeatedly stated he did believe, until badgered by the

            Panel into equivocating on the matter);

         h. The Panel ignored clear evidence of coercion and incapacity, instead siding with

            the female student based on nothing more than her word;

         i. The Panel utterly ignored material testimony given by Plaintiff, including the



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               hazing and initiation rituals, the compelled drinking and nudity, and the directive

               by TI members to do whatever the upperclassmen said;

           j. The Panel treated Plaintiff as the assailant even after he filed cross-claims against

               Roe;

           k. On information and belief, Princeton did not respond to Plaintiff’s cross-

               complaint as it did to Roe or other female complainants;

           l. The Panel asked leading questions in order to discredit Plaintiff, which they did

               not do to Roe;

           m. The Panel withheld witness identities from Plaintiff, although Roe knew the

               identity of the witnesses;

           n. The Panel withheld Roe’s initial report from Plaintiff, thereby precluding him

               from being able to address potential inconsistencies between her initial report

               and her subsequent interviews;

           o. The Panel was improperly trained and as a result, drew ignorant and baseless

               conclusions, including that Plaintiff must have consented to intercourse because

               he had an orgasm; and

           p. The Appeals Panel failed to give Plaintiff’s appeal a genuine review, instead

               relying on a cut-and-paste form letter which, on information and belief, it

               routinely uses in denying male respondents’ appeals.

        422.   Particular circumstances suggest that gender bias was a motivating factor behind

 the flawed proceedings and erroneous findings.       These circumstances include, by way of

 example and not limitation:

           a. The pressure imposed by the 2014 OCR resolution, including the fear of loss of



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            federal funds, as well as the fear of added financial liability such as reimbursing

            tuition for aggrieved female students, as well as subsequent complaints and OCR

            investigations into Princeton’s alleged failure to sufficiently prosecute and

            punish male students/faculty accused of sexual misconduct;

         b. Internal pressure from the student body and/or the media after years of harshly

            criticizing Princeton for its alleged failure to sufficiently prosecute and punish

            male students/faculty accused of sexual misconduct, including widespread

            student outrage in 2017 and 2018. As Princeton’s own school paper put it, “[t]he

            University, with its $25.9 billion dollar endowment, well-connected alumni, and

            strongly-opinionated student body, would likely face severe public backlash, as it

            has in the past, if it rolled back its Title IX protections for students. With a

            faculty-student sex scandal in 2017 and two others in 2014, the University’s

            public image has the potential to be tainted more by lax Title IX enforcement . . .

            .” Jasman Singh, Title IX Changes Are Going to Hurt Those that Need the

            Enforcement the Most, The Daily Princetonian (Nov. 28, 2018)—notably, each

            of the scandals identified in the article involved male respondents;

         c. The institutionalized bias against male respondents and in favor of female

            complainants, as evidenced by, among other things, the campus survey results

            indicating sexual misconduct complaints against female respondents are not

            prosecuted as often or as harshly as complaints against male respondents.

         d. The institutionalized bias embracing gender stereotypes, such as female victims

            and male assailants, as evidenced by Princeton’s offering certain sexual assault

            self-defense courses exclusively to female students;



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         e. Princeton’s refusal to hold Roe accountable for hazing and alcohol policy

            violations at TI;

         f. Princeton’s refusal to subject Smith to any discipline whatsoever for filing a

            blatantly false and fabricated report, submitting fabricated evidence to the Panel,

            and expressly agreeing to file her complaint in order to help bolster Roe’s case

            against Plaintiff;

         g. Princeton’s refusal to reprimand Roe in any way for colluding with Smith;

         h. Princeton’s unequal treatment of Roe as the complainant versus Plaintiff as the

            complainant;

         i. Princeton’s refusal to conduct any genuine investigation that could reveal

            exculpatory evidence, for example, failing to interview witnesses and review

            security footage;

         j. Princeton’s absolute refusal to investigate claims of hazing and sexual

            harassment against Plaintiff by TI members;

         k. The Panel’s disparate treatment of Plaintiff and Roe, where Plaintiff was

            interrogated and treated as guilty from the start, whereas Roe was treated as a

            victim and considered truthful from the start;

         l. The Panel’s refusal to acknowledge facts and events that seriously challenged

            Roe’s credibility, while nitpicking every statement Plaintiff made throughout the

            process in order to find him less credible;

         m. Princeton’s refusal to disclose to Plaintiff material information gathered during

            the investigation, to which Roe had access; and

         n. Princeton’s failure to afford Plaintiff the presumption of innocence, as such



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                would require Princeton to view equivocal evidence in favor of Plaintiff, which it

                did not do.

        423.    On information and belief, Princeton’s mishandling of the Complaint was

 informed by internal institutional pressure, ongoing OCR investigations, Princeton’s 2014

 settlement with the OCR, and the threat of rescission of federal funds.

        424.    On information and belief, Princeton has engaged in a pattern of unfair

 investigations and adjudications resulting in serious sanctions being imposed on male students,

 while not making comparable efforts with respect to allegations of sexual violence and abusive

 conduct made against female (and gender non-binary) students.

        425.    Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and

 explicitly unfair process in violation of Title IX.

        426.    This unlawful discrimination in violation of Title IX caused Plaintiff to sustain

 substantial injury, damage, and loss, including, but not limited to, loss of future educational and

 career opportunities, reputational damages, economic injuries and other direct and consequential

 damages.

        427.    As a result, Plaintiff is entitled to damages in an amount to be determined at

 trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as

 injunctive relief directing Princeton to: (i) reverse the findings and sanction regarding Jane

 Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of

 Plaintiff’s suspension from his educational/academic/disciplinary file and/or transcript; (iv)

 permanently destroy any record of Jane Roe’s complaint; (v) immediately reinstate Plaintiff as

 an enrolled student in good standing at Princeton; and (vi) issue an update/correction to any

 third parties to whom Plaintiff’s disciplinary record may have been disclosed.



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                           AS AND FOR A SECOND CAUSE OF ACTION
    Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. -
                                    Selective Enforcement
                                     (Against Princeton)
         428.    Plaintiff John Doe repeats and realleges each and every allegation above as if

 fully set forth herein.

         429.    Title IX of the Education Amendments of 1972 provides, in relevant part, that:

 “No person in the United States shall, on the basis of sex, be excluded from participation in, be

 denied the benefits of, or be subjected to discrimination under any education program or activity

 receiving Federal financial assistance.”

         430.    Title IX of the Education Amendments of 1972 applies to all public and private

 educational institutions that receive federal funding, including Defendant Princeton.

         431.    On information and belief, Princeton receives federal funding, including in the

 form of federal student loans given to students, and is subject to the provisions of Title IX.

         432.    Title IX is enforceable through a private right of action.

         433.    Both the Department of Education and the Department of Justice have

 promulgated regulations under Title IX that require a school to “adopt and publish grievance

 procedures providing for the prompt and equitable resolution of student…complaints alleging

 any action which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. §

 106.8(b) (2018); 28 C.F.R. § 54.135(b) (2018) (emphasis added).

         434.    The “prompt and equitable” procedures that a school must implement include, at a

 minimum: “Notice . . . of the procedure, including where complaints may be filed; Application

 of the procedure to complaints alleging harassment . . .; Adequate, reliable, and impartial

 investigation of complaints, including the opportunity to present witnesses and other evidence;

 Designated and reasonably prompt timeframes for the major stages of the complaint process;


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 Notice to the parties of the outcome of the complaint; and [a]n assurance that the school will take

 steps to prevent recurrence of any harassment and to correct its discriminatory effects . . . .”

 Dep’t of Ed., Office for Civ. Rights, Revised Sexual Harassment Guidance: Harassment of

 Students by School Employees, Other Students, or Third Parties -- Title IX (Jan. 19, 2001), at 20.

        435.       According to the 2001 Guidance, schools are obligated under Title IX to make

 sure that all employees involved in the conduct of the procedures have “adequate training as to

 what conduct constitutes sexual harassment, which includes ‘alleged sexual assaults.’” Id. at 21.

        436.       To succeed on a selective enforcement claim, a plaintiff must demonstrate that a

 female was in circumstances sufficiently similar to his own and was treated more favorably by

 the University.

        437.       Plaintiff and Roe were similarly situated in that both students alleged actions by

 the other that could constitute Nonconsensual Sexual Penetration if substantiated.

        438.       Plaintiff and Smith were similarly situated in that both were students involved in a

 Title IX investigation with an equal obligation to be truthful to the Title IX committee.

        439.       Selective enforcement occurred in this case because Roe and Smith were similarly

 situated female students who was treated more favorably by Princeton. By way of example, and

 not limitation:

            a. On information and belief, when Roe disclosed her complaint to the University,

                   she was provided resources for victims of sexual assault. Yet, when Plaintiff

                   reached out to Princeton to file his cross-complaint, the first response he received

                   was a two-sentence administrative response: “Thank you for letting me know. I

                   will be back in touch later this week with an update on timing;” there was no

                   referral to victim’s services, such as SHARE;



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         b. The Panel refused to address and acknowledge serious policy violations by Roe,

            including her: collusion with another complainant—comprising both dishonest

            behavior in the process and retaliation, as Smith’s complaint was filed within days

            of Plaintiff’s complaint against Roe—as well as Roe’s participation in hazing

            activities, and her admitted provision of alcohol to underage students at TI;

         c. The Panel refused to address and acknowledge serious policy violations by Smith,

            including her blatant fabrication of her claims in order to retaliate against Plaintiff

            for filing his claim against Roe;

         d. The Panel refused to address and acknowledge serious policy violations by Smith,

            including her provision of intentionally altered and/or fabricated evidence in order

            to support her false claims;

         e. The Panel asked Plaintiff leading questions and distorted his responses in order to

            exonerate Roe;

         f. The Panel interpreted any vague or slightly grammatically inconsistent statements

            by Plaintiff as material deceptions, despite his obvious lack of fluidity in English,

            while ignoring or writing off inconsistencies in Roe’s statements;

         g. The Panel took Roe’s claims at face value, but nitpicked everything Plaintiff said

            or did in order to find inconsistencies;

         h. The Panel went to great lengths to record Roe’s claimed emotional impact from

            the alleged incident, devoting over a page of their interview report to it, while

            pettily addressing Plaintiff’s with a single sentence: “This situation has caused

            him stress;” and

         i. The Panel entirely ignored the events leading up to the sexual interactions



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                between Plaintiff and Roe in making its final determination, despite Plaintiff’s

                statements that he was: (i) told to do whatever the upperclassmen said; (ii) told to

                go along with everything, even if it seemed “weird;” (iii) provided excessive

                amounts of alcohol, despite being underage, and told to chug beers on command,

                resulting in heavy intoxication; (iv) told to strip; (v) physically assaulted; (vi)

                sexually harassed; (vii) implicitly told not to report; (viii) approached by an older

                TI member (Roe), while alone, specifically asked if he was a sophomore, and then

                kissed unexpectedly when he answered “yes,” giving the clear impression that the

                kiss was part of initiations; (ix) told by the same TI member to get his clothes and

                follow her; (x) led away from initiations, while heavily intoxicated and extremely

                scared and intimidated; and (xi) told by Roe she knew considerable personal

                details about him, and was responsible for getting him into the club.              Yet,

                Princeton deliberately left all of this information out of the final report, instead

                simply stating that Plaintiff and Roe met after TI initiations, and stated in

                conclusory fashion that there was no evidence of coercion or incapacitation.

        440.    Princeton also imposed an unduly harsh sanction, which was motivated by

 Plaintiff’s gender. Princeton’s explanation for imposing the Sanction was based largely upon:

 (i) the Panel’s finding that Roe did not consent, which is simply an element of the violation;

 (ii) the panel’s admonishment that Plaintiff’s intoxication was not a mitigating factor; and

 (iii) Princeton’s claim that “similar” cases in the past had resulted in a two-year suspension.

            a. Princeton failed to account for Plaintiff’s spotless disciplinary record, as well as

                the context surrounding the events in question; and

            b. On information and belief, female (and gender non-binary) students accused of



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               sexual misconduct at Princeton are found responsible for lesser violations, and

               given lesser sanctions than male students accused of sexual misconduct, as

               indicated by campus survey responses.

        441.   Particular circumstances suggest that gender bias was a motivating factor behind

 Princeton’s selective enforcement of the Policy. These circumstances include, by way of

 example and not limitation:

            a. The pressure imposed by the 2014 OCR resolution, including the fear of loss of

               federal funds, as well as the fear of added financial liability such as reimbursing

               tuition for aggrieved female students, as well as subsequent complaints and OCR

               investigations into Princeton’s alleged failure to sufficiently prosecute and punish

               male students/faculty accused of sexual misconduct;

            b. Internal pressure from the student body and/or the media after years of harshly

               criticizing Princeton for its alleged failure to sufficiently prosecute and punish

               male students/faculty accused of sexual misconduct, including widespread student

               outrage in 2017 and 2018.       As Princeton’s own school paper put it, “[t]he

               University, with its $25.9 billion dollar endowment, well-connected alumni, and

               strongly-opinionated student body, would likely face severe public backlash, as it

               has in the past, if it rolled back its Title IX protections for students. With a

               faculty-student sex scandal in 2017 and two others in 2014, the University’s

               public image has the potential to be tainted more by lax Title IX

               enforcement . . . .” Jasman Singh, Title IX Changes Are Going to Hurt Those that

               Need the Enforcement the Most, The Daily Princetonian (Nov. 28, 2018).

               Notably, each of the scandals identified in the article involved male respondents;



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            c. The institutionalized bias against male respondents and in favor of female

                complainants, as evidenced by, among other things, the campus survey results

                indicating sexual misconduct complaints against female respondents are not

                prosecuted as often or as harshly as complaints against male respondents.

            d. The institutionalized bias embracing gender stereotypes, such as female victims

                and male assailants, as evidenced by Princeton’s offering of sexual assault self-

                defense courses exclusively to female students;

            e. Princeton’s refusal to hold Roe accountable for hazing and alcohol policy

                violations at TI;

            f. Princeton’s refusal to subject Smith to any discipline whatsoever for filing a

                blatantly false and fabricated report, submitting fabricated evidence to the Panel,

                and expressly agreeing to file her complaint in order to help bolster Roe’s case

                against Plaintiff;

            g. Princeton’s refusal to reprimand Roe in any way for colluding with Smith; and

            h. Princeton’s unequal treatment of Roe as the complainant versus Plaintiff as the

                complainant.

        442.    On information and belief, Princeton has engaged in a pattern of unfair

 investigations and adjudications resulting in serious sanctions being imposed on male

 respondents, while not making comparable efforts with respect to allegations of sexual violence

 and abusive conduct made against female/non-male students and/or by male complainants.

        443.    Based on the foregoing, Princeton selectively enforced its policies as between

 similarly situated male and female students.

        444.    This unlawful discrimination in violation of Title IX caused Plaintiff to sustain



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  substantial injury, damage, and loss, including, but not limited to, loss of future educational and

  career opportunities, reputational damages, economic injuries and other direct and consequential

  damages.

          445.    As a result, Plaintiff is entitled to damages in an amount to be determined at trial,

  plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as

  injunctive relief directing Princeton to: (i) reverse the findings and sanction regarding Jane Roe’s

  complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of Plaintiff’s

  suspension from his educational/academic/disciplinary file and/or transcript; (iv) permanently

  destroy any record of Jane Roe’s complaint; (v) immediately reinstate Plaintiff as an enrolled

  student in good standing at Princeton; and (vi) issue an update/correction to any third parties to

  whom Plaintiff’s disciplinary record may have been disclosed.


                            AS AND FOR A THIRD CAUSE OF ACTION
      Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq.
                                     Deliberate Indifference
                                       (Against Princeton)

          446.    Plaintiff John Doe repeats and re-alleges each and every allegation above as if

  fully set forth herein.

          447.    Title IX of the Education Amendments of 1972 provides, in relevant part: “No

  person in the United States shall, on the basis of sex, be excluded from participation in, be

  denied the benefits of, or be subjected to discrimination under any education program or activity

  receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

          448.    Title IX of the Education Amendments of 1972 applies to all public and private

  educational institutions that receive federal funding, including Defendant Princeton University.

          449.    On information and belief, Princeton receives federal funding, including in the



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  form of federal student loans given to students, and is subject to the provisions of Title IX.

          450.    Title IX is enforceable through a private right of action.

          451.    A recipient of federal funding, such as Princeton, violates Title IX if the recipient

  is “deliberately indifferent” to known acts of student-on-student harassment which are severe,

  pervasive, and objectively offensive and interfere with the student’s enjoyment of their

  education and the benefits thereof.

          452.    Deliberate indifference is evidenced by a response that is clearly unreasonable in

  light of known circumstances.

          453.    Princeton was deliberately indifferent to reports of harassment and assault by TI

  members at TI initiations, of which Princeton was well aware both historically and specifically

  with reference to Plaintiff’s initiation.

          454.    The eating clubs at Princeton University, and specifically the Tiger Inn, have a

  long, documented, well-known history of sexual harassment and sexual misconduct, frequently

  fueled by excessive consumption of alcohol and the provision of alcohol to underage students.

          455.    Princeton had actual knowledge of these long-standing, ongoing issues by virtue

  of Princeton’s published responses to various news articles specifically addressing these issues.

          456.    Princeton had further notice of the habitual, constant, and ongoing issues of

  sexual harassment at the eating clubs by virtue of numerous written reports of campus

  committees and groups, which included Princeton staff/administrators, urging the school to take

  more action to prevent “dangerous drinking and other dangerous, demeaning and dehumanizing

  behaviors.”

          457.    As described in detail above, in the years leading up to Plaintiff’s initiation,

  numerous TI officers were forced to resign after numerous instances of insufficient safety and



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  allegations of sexual assault and harassment at TI and by TI members and officers, including the

  wide-scale distribution of a photograph of a sex act that, in itself, on information and belief, was

  reported as a sexual assault.

         458.     These events led to the vandalizing of the front walls of TI with the phrase

  “RAPE HAVEN.” This vandalism, and the event that spurned it, was widely covered in the

  media and included responses from Princeton acknowledging the situation.

         459.     Despite decades of well-documented issues at TI, and despite recommendations

  by its own task forces calling for more oversight and action to protect Princeton students from

  the known harassment taking place at the eating clubs, Princeton has failed to take any

  substantive remedial action, subjecting class after class of Princeton students, including

  Plaintiff, to harassment.

         460.     In fact, Princeton acknowledges and relies upon its hands-off approach in order

  to abdicate itself from any responsibility for the offenses at the eating clubs, which is a

  complete farce given that the eating clubs: (i) are subsidized and administratively supported by

  Princeton; (ii) utilize Princeton resources; (iii) cater exclusively to Princeton students; and (iv)

  provide meal options to two-thirds of Princeton’s students and control the vast majority of the

  social scene.

         461.     Because the eating clubs provide the majority of the social activities for

  Princeton students, Princeton students—like Plaintiff—are essentially forced to endure

  harassment in order to fully enjoy the benefits of student life at Princeton.

         462.     Indeed, despite Princeton’s constant professions that the eating clubs are separate

  corporate entities, Princeton promotes the eating clubs to new and prospective students, and the

  RRR contains policies that expressly apply to the eating clubs—although they are not genuinely



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  enforced.

          463.    Princeton’s disingenuous and inconsistent pattern of behavior—purporting to

  protect students in the eating clubs, while simultaneously denying responsibility for protecting

  students in the eating clubs—displays deliberate indifference to known instances of severe and

  pervasive harassment.

          464.    Indeed, even though Princeton offers training to the eating clubs via SHARE, on

  information and belief, Princeton has never required specific training or safety measures to be

  implemented at the clubs.

          465.    On information and belief, despite the allegedly separate structures of the eating

  clubs and Princeton, Princeton could easily impose safety requirements by refusing to subsidize

  the eating club meal plan without compliance.

          466.    Furthermore, Princeton is well aware that many eating club members are hesitant

  to report incidents for fear of reprisal. See Anna Wolcke, Behind Closed Doors: How

  Princeton’s Administration Is Turning a Blind Eye to Serious Safety Issues in Its Secret Bar

  District, Nassau Weekly (Feb. 17, 2019). Princeton could easily remedy this by requiring

  eating clubs to provide anonymous surveys to their new members that will be delivered directly

  to the Title IX office.

          467.    Princeton does not take any genuine, effective measures to encourage reporting

  because, in reality, Princeton benefits from the insular nature of the clubs, preferring for matters

  to be dealt with internally (or not at all), rather than having to address the issues directly and

  damage Princeton’s reputation.

          468.    Princeton’s reliance on the eating clubs’ self-governance structure is equally

  negligent; Hap Cooper, the graduate advisor for TI, was the president of the 21 club and has



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  repeatedly sought to protect TI’s reputation over protecting TI’s vulnerable members.

         469.    Moreover, TI’s own “safety czar” was forced to step down for failing to ensure

  safety at the club, while the club’s appointed sober monitors end up drinking more than the

  students they are supposed to watch, and the hired bouncers are themselves convicted criminals

  and alleged perpetrators of some of the most consistent harassment.

         470.    As a result of Princeton’s intentional, deliberate, knowing, institutional neglect of

  decades of reported harassment and assault at the eating clubs, and specifically, at TI, Plaintiff

  was subjected to sexual harassment and assault, by numerous TI members, at his TI initiation.

         471.    The harassment and assault to which Plaintiff was subjected was so severe as to

  interfere with his education and benefits of enrollment at Princeton. Not only did Plaintiff

  undergo a stressful and disruptive Title IX process—during which Princeton refused to

  appropriately accommodate his academic needs—his assailant was found not responsible and

  instead, Plaintiff was suspended from Princeton.

         472.    In addition to Princeton’s historical and institutional deliberate indifference,

  Princeton was specifically deliberately indifferent to the harassment that Plaintiff reported to the

  Title IX office.

         473.    Plaintiff told Princeton’s Title IX office that while at TI, he was made to strip,

  physically abused, and flashed by naked and half-naked members.               Notably, flashing is

  expressly included in Princeton’s definition of sexual harassment.

         474.    Yet, Princeton took no action whatsoever in response to Plaintiff’s report.

         475.    Princeton’s failure to take action on a report of sexual harassment was a clearly

  unreasonable reaction, constituting deliberate indifference in violation of Title IX.

         476.    On information and belief, Tiger Inn has surveillance cameras inside the club,



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  meaning Princeton could have easily ascertained the identity of the alleged wrongdoers, and the

  truth of Plaintiff’s statements. Instead, Princeton chose, as always, to bury its head in the sand.

         477.    Moreover, Princeton failed to appropriately and adequately respond to Plaintiff’s

  complaint against Roe for sexual assault.

         478.    Although Princeton superficially included Plaintiff’s counter-claim into their

  report in the case involving Roe, Princeton deliberately, knowingly, and intentionally excluded

  Plaintiff’s reports of hazing, intoxication, coercion, and intimidation by Roe from its ultimate

  decision, failing to even address the actions and atmosphere that led to Plaintiff’s assault.

         479.    As a result of Princeton’s inadequate and biased investigation, Plaintiff’s

  assailant, Jane Roe, was found not responsible, despite admitting to participating in initiations

  and contributing to the behavior that Plaintiff found intimidating and coercive.

         480.    As a result of Princeton’s unreasonable reaction to known reports of severe and

  pervasive sexual harassment and assault, Plaintiff was deprived the benefits of his education at

  Princeton.

         481.    Princeton thus violated Title IX by virtue of deliberate indifference to student-

  on-student harassment.

         482.    As a result of Princeton’s unlawful and improper actions and inactions, Plaintiff

  suffered damages, including, but not limited to: physical assault, sexual assault, emotional

  harm, mental anguish, reputational harm, diminished educational career opportunities, and other

  economic losses and damages.

         483.    As a result, Plaintiff is entitled to damages in an amount to be determined at trial,

  plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as

  injunctive relief directing Princeton to: (i) reverse the findings and sanction regarding Jane



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  Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of

  Plaintiff’s suspension from his educational/academic/disciplinary file and/or transcript; (iv)

  permanently destroy any record of Jane Roe’s complaint; (v) immediately reinstate Plaintiff as

  an enrolled student in good standing at Princeton; (vi) conduct a genuine investigation into

  Plaintiff’s claims of assault and harassment at TI; and (vii) issue an update/correction to any

  third parties to whom Plaintiff’s disciplinary record may have been disclosed.


                        AS AND FOR A FOURTH CAUSE OF ACTION
                                  Common Law Due Process:
                     Fundamental Fairness in School Disciplinary Proceedings
                                      (Against Princeton)

          484.    Plaintiff John Doe repeats and realleges each and every allegation above as if

  fully set forth herein.

          485.    New Jersey courts recognize that private school students facing disciplinary

  actions, up to and including expulsion, are entitled to a disciplinary process that: (i) adheres to

  the school’s established standards, and (ii) is “fundamentally fair,” and that any findings must be

  based on sufficient evidence. See Hernandez v. Don Bosco Preparatory High, 322 N.J. Super. 1,

  21 (App. Div.), certif. denied, 162 N.J. 196 (1999).

          486.    In the instant case, Princeton’s disciplinary process neither conformed to its

  established procedures nor satisfied principles of fundamental fairness nor relied on sufficient

  evidence.

          487.    As described in Section IV, supra, Princeton violated numerous provisions of the

  RRR in investigating and adjudicating Roe’s and Smith’s claims against Plaintiff, as well as

  failing to adequately investigate or fairly adjudicate Plaintiff’s claims against Roe, and Plaintiff’s

  reports of hazing and sexual harassment at TI.



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         488.    Moreover, Princeton’s use of a single Panel to simultaneously investigate two

  unrelated claims against Plaintiff, as well as to adjudicate both, resulted in a process that was

  fundamentally unfair, as the Panel was undoubtedly tainted in its view of Plaintiff and his

  credibility by virtue of the dual investigations.

         489.    Likewise, Princeton’s refusal to conduct a proper investigation including

  interviewing of witnesses and/or review of security footage, in addition to its withholding of

  witness identities that were known to Roe, prevented Plaintiff from being able to fully defend

  himself, resulting in a process that was fundamentally unfair.

         490.    In addition, the Finding did not accord with the appropriate burden of proof, and

  was not based upon sufficient credible evidence in the record.

         491.    Princeton’s deficient “investigation”, coupled with, among other things, its

  violation of numerous provisions of the RRR, resulted in a disciplinary process that was

  fundamentally unfair and wrongfully deprived Plaintiff of his education, to which he was entitled

  as a student who paid tuition to Princeton.

         492.    Princeton’s fundamentally unfair, unsupported, and inappropriate actions and

  omissions caused Plaintiff to sustain substantial injury, damage, and loss, including, but not

  limited to, loss of future educational and career opportunities, reputational damages, economic

  injuries and other direct and consequential damages.

         493.    As a result, Plaintiff is entitled to damages in an amount to be determined at trial,

  plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as

  injunctive relief directing Princeton to: (i) reverse the findings and sanction regarding Jane Roe’s

  complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of Plaintiff’s

  suspension from his educational/academic/disciplinary file and/or transcript; (iv) permanently



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  destroy any record of Jane Roe’s complaint; (v) immediately reinstate Plaintiff as an enrolled

  student in good standing at Princeton; (vi) conduct a genuine investigation into Plaintiff’s claims

  of assault and harassment at TI; and (vii) issue an update/correction to any third parties to whom

  Plaintiff’s disciplinary record may have been disclosed.



                          AS AND FOR A FIFTH CAUSE OF ACTION
                                    Breach of Contract
                                    (Against Princeton)

         494.    Plaintiff John Doe repeats and re-alleges each and every allegation above as

  though fully set forth herein.

         495.    At all times relevant hereto, a contractual relationship existed between Plaintiff

  and Princeton through Princeton’s dissemination of the RRR and policies and procedures

  governing the student disciplinary system, including but not limited to the Policy, and Plaintiff’s

  tuition payments and other consideration, such as compliance with the RRR and relevant

  policies.

         496.    As described in Section IV, supra, Princeton violated numerous provisions of the

  RRR in investigating and adjudicating Roe’s and Smith’s claims against Plaintiff, as well as

  failing to adequately investigate or fairly adjudicate Plaintiff’s claims against Roe, and

  Plaintiff’s reports of hazing and sexual harassment at TI.

         497.    As a result of the direct, proximate, and foreseeable consequences of Princeton’s

  breaches, Plaintiff sustained substantial injury, damage, and loss, including, but not limited to,

  loss of future educational and career opportunities, reputational damages, economic injuries and

  other direct and consequential damages.

         498.    Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus



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  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                           AS AND FOR A SIXTH CAUSE OF ACTION
                            Breach of Implied Contract/Quasi Contract
                                       (Against Princeton)
         499.     Plaintiff John Doe repeats and re-alleges each and every allegation above as

  though fully set forth herein.

         500.    Plaintiff paid Princeton sums of money for his education, and in return, Princeton

  was to provide Plaintiff with access to its undergraduate degree program and relevant

  protections and assurances under Princeton’s policies, including the RRR and the Policy.

         501.    Plaintiff’s enrollment in, and attendance of classes at Princeton created in

  Plaintiff an expectation that he would be allowed to timely continue his course of study until he

  earned his degree from Princeton on his expected degree date June 2020.

         502.    Through its promotional materials, contracts, and policies, including the RRR,

  upon which Plaintiff relied, and in exchange for which Plaintiff paid tuition, Princeton provided

  certain assurances to Plaintiff, including that disciplinary matters will be handled in a certain

  fashion, and that students will not be sanctioned or restricted from Princeton arbitrarily,

  unfairly, or without just cause.     Accordingly, an implied or quasi-contractual relationship

  existed between Plaintiff and Princeton under which each party owed the other certain duties.

         503.    Under the implied/quasi-contract between Plaintiff and Princeton, Princeton had

  a duty not to suspend, expel, or otherwise discipline Plaintiff for disciplinary misconduct

  arbitrarily, capriciously, maliciously, discriminatorily, or otherwise in bad faith or in violation

  of its posted policies and procedures.

         504.    Under the implied/quasi contract between Plaintiff and Princeton, Princeton had

  a duty to investigate Plaintiff’s reports of hazing, assault, and harassment, which it failed and/or


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  refused to do.

         505.      As discussed in detail above, Princeton violated its duties and breached its

  express and implied agreements in, among other things, failing to adequately investigate

  Plaintiff’s reports, unfairly discriminating against Plaintiff on the basis of his gender,

  erroneously finding Plaintiff responsible for sexual misconduct, and selectively enforcing its

  policies.

         506.      As a result of the direct, proximate, and foreseeable consequences of Princeton’s

  breaches, Plaintiff sustained substantial injury, damage, and loss, including, but not limited to,

  loss of future educational and career opportunities, reputational damages, economic injuries and

  other direct and consequential damages.

         507.      Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                          AS AND FOR A SEVENTH CAUSE OF ACTION
                    Breach of Implied Covenant of Good Faith and Fair Dealing
                                        (Against Princeton)
         508.      Plaintiff John Doe repeats and re-alleges each and every allegation above as

  though fully set forth herein.

         509.      At all relevant times herein, a contractual relationship existed between Plaintiff

  and Princeton, the terms of which were dictated, in part, by Princeton’s RRR and the policies

  and procedures contained therein, including but not limited to the Policy.

         510.      Through the documents it publishes and provides to students, Princeton makes

  express and implied contractual commitments to students in exchange for their enrollment and

  payment of relevant tuition and fees.

         511.      Included in these contractual agreements is the covenant of good faith and fair


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  dealing implied in all contracts. See Palisades Properties, Inc. v. Brunetti, 44 N.J. 117, 130

  (1965).

            512.   A party may be held liable for breach of the covenant of good faith and fair

  dealing even when there is no substantive breach of an express contractual term. See Hills v.

  Bank of Am., CIV.A. 13-4960 ES, 2015 WL 1205007, at *4 (D.N.J. Mar. 17, 2015) (citing

  Wilson v. Amerada Hess Corp., 168 N.J. at 236, 236 (2001)); Seidenberg v. Summit Bank, 348

  N.J. Super. 243, 257 (App. Div. 2002)).

            513.   As set forth in detail above, Princeton violated the covenant of good faith and fair

  dealing by, among other things:

               a. Intentionally permitting policy violations at the eating clubs, and specifically TI,

                   to go unaddressed for decades;

               b. Intentionally refusing to investigate Plaintiff’s legitimate reports of numerous

                   policy violations, including hazing, physical assault, sexual harassment, provision

                   of alcohol to underage students, and excessive consumption of alcohol at TI;

               c. Subjecting Plaintiff to a disciplinary process that was tainted from the start by

                   virtue of simultaneous investigations and gender bias;

               d. Ignoring/whitewashing blatant evidence of hazing at TI;

               e. Ignoring/withholding blatant evidence of collusion and dishonesty by Smith and

                   Roe;

               f. Withholding witness identities that were known to Roe, but not Plaintiff; and

               g. Rubber-stamping Plaintiff’s appeal rather than conducting a substantive and

                   genuine review.

            514.   As a result of the direct, proximate, and foreseeable consequences of Princeton’s



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  breaches, Plaintiff sustained substantial injury, damage, and loss, including, but not limited to,

  loss of future educational and career opportunities, reputational damages, economic injuries and

  other direct and consequential damages.

         515.    Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                        AS AND FOR AN EIGHTH CAUSE OF ACTION
                                         Negligence
                            (Against Minter, Crotty, Shueh, White)


         516.    Plaintiff John Doe repeats and re-alleges each and every allegation above as

  though fully set forth herein.

         517.    To state a negligence claim under New Jersey law, a plaintiff must show that the

  defendant owed the plaintiff a duty; that the defendant breached such a duty; and that the breach

  was the proximate cause of the injury.

         518.    Here, the Defendants formed a university-student relationship with Plaintiff and,

  in light of their participation in the Title IX process and the express provisions of the RRR and

  the Policy, owed a duty to Plaintiff to conduct the disciplinary process with due care, to respond

  adequately to Plaintiff’s reports of policy violations, including hazing, assault, and harassment,

  to perform investigations free from bias or conflict, to provide Plaintiff a genuine opportunity to

  defend himself, and to have proper training in investigating and evaluating the alleged conduct

  under Princeton’s policies.

         519.    In light of the individual Defendants’ positions with Princeton, they had certain

  obligations with respect to the investigation and adjudication of Title IX complaints, including

  obligations owed to students, including Plaintiff, as to how they would treat students subject to a


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  disciplinary procedure and students who report policy violations. By way of example and not

  limitation:

                a. Defendant Minter was responsible for appointing the Title IX Panel to investigate

                   Roe and Smith’s claims against Plaintiff, and had a duty to appoint an unfair,

                   unbiased, and appropriately trained Panel for each investigation, which she

                   breached;

                b. Defendant Crotty was responsible for investigating reported potential violations

                   of the Policy and had a duty to initiate a Title IX investigation if such behavior, if

                   substantiated, would constitute a violation of the Policy, which she breached; and

                c. Defendants Shueh and White had a duty to conduct a full, fair, unbiased, and

                   impartial investigation and adjudication of Title IX claims, which they breached.

         520.      The foregoing duties were breached when Plaintiff did not receive the full

  protection of the RRR and the disciplinary process, and was subjected to a biased and prejudiced

  procedure, as described fully above.

         521.      In light of the Defendants’ deliberate, bad-faith failure to conduct a genuine

  investigation into Plaintiff’s reports of hazing, assault, and harassment, despite a long, well-

  documented history of such behavior at the eating clubs, and TI in particular, Defendants’

  behavior was grossly negligent.

         522.      Defendants’ actions display a policy of harshly prosecuting and disciplining male

  respondents, rather than a genuine, unbiased search for the truth, constituting gross negligence in

  light of the severe and lasting harm resulting from their actions, including Plaintiff’s two-year

  suspension and the marks on his disciplinary record and transcript.

         523.      As a direct and Proximate result of Defendants’ breach of their duties, Plaintiff



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  sustained substantial injury, damage, and loss, including, but not limited to, loss of future

  educational and career opportunities, reputational damages, economic injuries and other direct

  and consequential damages.

         524.    Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                          AS AND FOR A NINTH CAUSE OF ACTION
                                   Respondeat Superior
                                    (Against Princeton)

         525.    Plaintiff John Doe repeats and realleges each and every allegation above as

  though fully set forth herein.

         526.    As the employer for Defendants Minter, Crotty, Shueh, and White, Princeton is

  vicariously responsible for the negligent acts of its employees committed during the course of

  their employment.

         527.    As detailed above, the enforcement of the RRR and the Policy, and the fair and

  impartial investigation and adjudication of student disciplinary matters are part of the regular

  employment duties of Defendants Minter, Crotty, Shueh, and White.

         528.    As detailed above, Defendants Minter, Crotty, Shueh, and White breached their

  duty of care to Plaintiff in the course of their employment and ordinary duties at Princeton,

  specifically, with regard to their actions and inactions in selectively enforcing the Policy and

  subjecting Plaintiff to a biased, partial, defective, deficient, arbitrary and fundamentally unfair

  disciplinary process.

         529.    As detailed above, the foreseeable, direct and proximate result of the individual

  defendants’ grossly negligent and/or negligent behavior was that Plaintiff sustained substantial



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  injury, including, without limitation, loss of educational and career opportunities, reputational

  harm, economic injuries and other direct and consequential damages.

         530.      As a result, Defendant Princeton University is liable to Plaintiff for the grossly

  negligent and/or negligent acts and omissions of Defendants Minter, Crotty, Shueh, and White

  under the principle of respondeat superior.

         531.      Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                           AS AND FOR A TENTH CAUSE OF ACTION
                               Breach of Contract/Implied Contract
                                          (Against TI)

         532.      Plaintiff John Doe repeats and realleges each and every allegation above as

  though fully set forth herein.

         533.      Tiger Inn is an organization that provides dining and social services to its

  members in exchange for an annual fee in the form of membership dues.

         534.      By accepting Plaintiff as a TI member and initiating him into the eating club, TI

  created an express and/or implied contract with Plaintiff as a member.

         535.      In addition to the provision of services in exchange for remuneration, TI makes

  certain promises to its members and expects certain promises in exchange.

         536.      These promises are embodied in, among other things, certain publications

  disseminated by Tiger Inn and/or the ICC to TI members, including the eating club Statement of

  Principles.

         537.      The Statement of Principles provides that:

                a. “The Princeton Eating Clubs exist to provide a positive learning and social



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             environment in which members interact in a mutually respectful atmosphere that

             is consistent with the values represented by Princeton University.”

          b. “Members are expected to adhere to a Code of Conduct established by their club

             which requires they be respectful of the club, its property, its staff, its alumni

             members, its undergraduate members and the guests of any club member, and the

             University community in general.”

          c. “Each club shall adopt and maintain a Code of Conduct that is based upon

             applicable provisions of the University’s most recent edition of [the RRR].”

          d. “Sex and gender-based discrimination and sexual misconduct, including sexual

             harassment, (as defined under [the RRR]) are prohibited on or about all club

             premises.”

          e. “Members shall endeavor to ensure that the club maintains an atmosphere free of

             any pressures on other members, guests and employees relating to sexual

             misconduct.”

          f. “Each club shall adopt and implement policies that conform to University policy

             and state, county and local laws and ordinances related to the consumption and

             possession of alcohol.”

          g. “Participation by club members in any form of hazing (as defined in [the

             RRR] and by New Jersey law), and/or any initiation ritual that could be harmful,

             or result in injury to current prospective club members is prohibited, whether

             conducted on or off club premises. Initiation rituals that include the implicit or

             explicit requirement to ingest alcohol . . . .”

          h. “Club members are admonished against organizing activities that encourage



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                 excessive drinking, and/or which may create an environment in which non-

                 drinkers may feel excluded and create an unsafe setting for those who are

                 drinking.”

         538.    The Statement of Principles comprises express and/or implied agreements by TI

  to its members and initiates to create a safe, welcoming environment free from hazing, physical

  abuse, and sexual harassment.

         539.    TI violated these express and implied agreements by failing to properly or

  genuinely implement safety protocols and by historically, consistently, and systematically

  permitting alcohol and hazing violations and sexual misconduct to go virtually unpunished.

         540.    TI violated these express and implied agreements by permitting hazing at

  Plaintiff’s initiation, including: provision of alcohol to underage students; encouragement of

  excessive drinking; degrading and dangerous behavior; physical assaults; sexual harassment in

  the form of flashing and directing new initiates to strip; and pressure to conform to sexual

  misconduct, including plying initiates with alcohol, telling them to strip, and repeatedly priming

  them to do whatever the upperclassmen say.

         541.    As a direct and proximate result of these breaches, Plaintiff was physically

  assaulted, humiliated, and sexually harassed and assaulted by TI members.

         542.    Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                     AS AND FOR AN ELEVENTH CAUSE OF ACTION
                                     Negligence
                                    (Against TI)

         543.    Plaintiff John Doe repeats and realleges each and every allegation above as



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  though fully set forth herein.

          544.    Plaintiff, a Princeton student, was invited to “bicker” at TI, and was admitted to

  TI as a new member.

          545.    The initiation night was organized and hosted by TI, on TI’s premises, and

  Plaintiff was specifically invited (in fact, directed) to attend.

          546.    TI thus owed Plaintiff a duty of care as a new initiate and an invitee of the club.

          547.    TI breached its duty of care by providing the underaged Plaintiff with alcohol,

  pressuring him to drink excessively, and permitting him to be hazed and sexually harassed and

  assaulted by other members.

          548.    Specifically, TI failed to enforce its own code of conduct, failed to enforce

  Princeton’s RRR, and failed to enforce state and local laws regarding alcohol and hazing.

          549.    As a direct and proximate result of TI’s negligence, Plaintiff suffered humiliation

  and physical and emotional harm, including sexual assault.

          550.    Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                         AS AND FOR A TWELFTH CAUSE OF ACTION
                                Negligence – Negligent Security
                                         (Against TI)

          551.    Plaintiff John Doe repeats and realleges each and every allegation above as

  though fully set forth herein.

          552.    Tiger Inn owes its members and invited guests a reasonable duty of care to

  provide a safe environment for eating meals and socializing.

          553.    This duty includes taking reasonable measures to prevent the reasonably



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  foreseeable acts of third parties.

            554.     TI breached its duty of care to Plaintiff by failing to provide adequate security, in

  that Plaintiff was physically assaulted, sexually harassed, and coerced into leaving the club by an

  older TI member while he was intoxicated.

            555.     The hazing activities to which Plaintiff was subjected were reasonably

  foreseeable, as TI was infamous for its hazing rituals, and TI officers planned, organized and ran

  the initiation events wherein the hazing (including the assaults) took place.

            556.     As a direct and proximate result of TI’s failure to provide adequate security

  measures, Plaintiff was pressured to binge drink alcohol despite being underaged, humiliated,

  assaulted, and harassed at TI by TI members and/or officers, resulting in both physical and

  emotional harm.

            557.     Thus, Plaintiff is entitled to damages in an amount to be determined at trial, plus

  punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements.



                                              PRAYER FOR RELIEF

            WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against

  Defendants as follows:


      (i)          On the First cause of action for Violation of Title IX of the Education Amendments
                   of 1972 - erroneous outcome, a judgment against Princeton awarding Plaintiff
                   damages in an amount to be determined at trial, plus prejudgment interest, attorneys’
                   fees, expenses, costs and disbursements, as well as injunctive relief directing
                   Princeton to: (i) reverse the findings and sanction regarding Jane Roe’s complaint;
                   (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of Plaintiff’s
                   suspension from his educational/academic/disciplinary file and/or transcript; (iv)
                   permanently destroy any record of Jane Roe’s complaint; (v) immediately reinstate
                   Plaintiff as an enrolled student in good standing at Princeton; and (vi) issue an
                   update/correction to any third parties to whom Plaintiff’s disciplinary record may
                   have been disclosed;


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     (ii)    On the Second cause of action for Violation of Title IX of the Education
             Amendments of 1972 - selective enforcement, a judgment against Princeton
             awarding Plaintiff damages in an amount to be determined at trial, plus prejudgment
             interest, attorneys’ fees, expenses, costs and disbursements, as well as injunctive
             relief directing Princeton to: (i) reverse the findings and sanction regarding Jane
             Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record
             of Plaintiff’s suspension from his educational/academic/disciplinary file and/or
             transcript; (iv) permanently destroy any record of Jane Roe’s complaint; (v)
             immediately reinstate Plaintiff as an enrolled student in good standing at Princeton;
             and (vi) issue an update/correction to any third parties to whom Plaintiff’s
             disciplinary record may have been disclosed;

     (iii)   On the Third cause of action for Violation of Title IX of the Education Amendments
             of 1972 - deliberate indifference, a judgment against Princeton awarding Plaintiff
             damages in an amount to be determined at trial, plus prejudgment interest, attorneys’
             fees, expenses, costs and disbursements, as well as injunctive relief directing
             Princeton to: (i) reverse the findings and sanction regarding Jane Roe’s complaint;
             (ii) expunge Plaintiff’s disciplinary record; (iii) remove any record of Plaintiff’s
             suspension from his educational/academic/disciplinary file and/or transcript; (iv)
             permanently destroy any record of Jane Roe’s complaint; (v) immediately reinstate
             Plaintiff as an enrolled student in good standing at Princeton; (vi) conduct a genuine
             investigation into Plaintiff’s claims of assault and harassment at TI; and (vii) issue
             an update/correction to any third parties to whom Plaintiff’s disciplinary record may
             have been disclosed;

     (iv)    On the Fourth cause of action for Common-law Due Process/Fundamental Fairness,
             a judgment against Princeton awarding Plaintiff damages in an amount to be
             determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and
             disbursements, as well as injunctive relief directing Princeton to: (i) reverse the
             findings and sanction regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s
             disciplinary record; (iii) remove any record of Plaintiff’s suspension from his
             educational/academic/disciplinary file and/or transcript; (iv) permanently destroy
             any record of Jane Roe’s complaint; (v) immediately reinstate Plaintiff as an enrolled
             student in good standing at Princeton; (vi) conduct a genuine investigation into
             Plaintiff’s claims of assault and harassment at TI; and (vii) issue an
             update/correction to any third parties to whom Plaintiff’s disciplinary record may
             have been disclosed;

     (v)     On the Fifth cause of action for Breach of Contract, a judgment against Princeton
             awarding Plaintiff damages in an amount to be determined at trial, plus punitive
             damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

     (vi)    On the Sixth cause of action for Breach of Implied/Quasi-Contract, a judgment
             against Princeton awarding Plaintiff damages in an amount to be determined at trial,



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             plus punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and
             disbursements;

     (vii)   On the Seventh cause of action for Breach of the Implied Covenant of Good Faith
             and Fair Dealing, a judgment against Princeton awarding Plaintiff damages in an
             amount to be determined at trial, plus punitive damages, prejudgment interest,
             attorneys’ fees, expenses, costs and disbursements;

     (viii) On the Eighth cause of action for Negligence, a judgment against Defendants
            Minter, Crotty, Shueh, and White, jointly and severally, in an amount to be
            determined at trial, plus punitive damages, prejudgment interest, attorneys’ fees,
            expenses, costs and disbursements;

     (ix)    On the Ninth cause of action for Respondeat Superior, a judgment against
             Princeton awarding Plaintiff damages in an amount to be determined at trial, plus
             punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and
             disbursements;

     (x)     On the Tenth cause of action for breach of express and implied contract, a judgment
             against TI awarding Plaintiff damages in an amount to be determined at trial, plus
             punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and
             disbursements;

     (xi)    On the Eleventh cause of action for negligence, a judgment against TI awarding
             Plaintiff damages in an amount to be determined at trial, plus punitive damages,
             prejudgment interest, attorneys’ fees, expenses, costs and disbursements;


     (xii)   On the Twelfth cause of action for negligence – negligent security, a judgment
             against TI awarding Plaintiff damages in an amount to be determined at trial, plus
             punitive damages, prejudgment interest, attorneys’ fees, expenses, costs and
             disbursements;

     (xiii) Equitable relief in the form of an order directing Princeton to: (i) reverse the
            findings and sanction regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s
            disciplinary record; (iii) remove any record of Plaintiff’s suspension from his
            educational/academic/disciplinary file and/or transcript; (iv) permanently destroy
            any record of Jane Roe’s complaint; (v) immediately reinstate Plaintiff as an
            enrolled student in good standing at Princeton; (vi) conduct a genuine investigation
            into Plaintiff’s claims of assault and harassment at TI; and (vii) issue an
            update/correction to any third parties to whom Plaintiff’s disciplinary record may
            have been disclosed; and

     (xiv)   Such other, additional, and further relief as the Court deems just and proper.




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                                            Jury Demand

         Plaintiff herein demands a trial by a jury of all issues so triable in the present matter.

  Dated: May 16, 2019

                                       Respectfully submitted,


                                         /s/ Adrienne Levy, Esq.
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